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                                                                 Page 1

1                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK
2
     - - - - - - - - - - - - - - -x
3        NEW YORK IMMIGRATION                :
         COALITION, et al.,                  :
4                                            :
              Plaintiffs,                    :
5                                            :   Case No.
             v.                              :
6                                            :   1:18-CF-05025-JMF
         UNITED STATES DEPARTMENT            :
7        OF COMMERCE, et al.,                :
                                             :
8             Defendants.                    :
     - - - - - - - - - - - - - - -x
9                                            Friday, October 16, 2018
                                                       Washington, D.C.
10
11
12   Videotaped Deposition of:
13                                JOHN GORE,
14   called for oral examination by counsel for the
15   Plaintiffs, pursuant to notice, at the law offices of
16   Covington & Burling, LLP, One City Center, 850 Tenth
17   Street, Northwest, Washington, D.C. 20001-4956,
18   before Christina S. Hotsko, RPR, CRR, of Veritext
19   Legal Solutions, a Notary Public in and for the
20   District of Columbia, beginning at 9:05 a.m., when
21   were present on behalf of the respective parties:
22



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                                                                 Page 2

1                     A P P E A R A N C E S
2    On behalf of New York Immigration Coalition:
        DALE HO, ESQUIRE
3       JONATHAN TOPAZ, ESQUIRE
        American Civil Liberties Union Foundation
4

5       REDACTED
6
7    On behalf of Lupe Plaintiffs:
        DENISE HULETT, ESQUIRE
8       MALDEF

9

10
       REDACTED
11       ERI ANDRIOLA, ESQUIRE
         Asian Americans Advancing Justice
12

13
14
       REDACTED
     On behalf of City of         San Jose and Black Alliance for
15   Just Immigration:
        JON M. GREENBAUM,         ESQUIRE
16      DORIAN L. SPENCE,         ESQUIRE
        Lawyers Committee         for Civil Rights Under Law
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1               A P P E A R A N C E S            C O N T I N U E D
2
     On behalf of Kravitz Plaintiffs:
3       TINA M. THOMAS, ESQUIRE
        Covington & Burling, LLP
4      REDACTED

5

6
7
       REDACTED
     On behalf of the State of California:
8       GABRIELLE D. BOUTIN, ESQUIRE (Via Telephone)
        California Department of Justice
9       Office of the Attorney General




        REDACTED
10

11

12
13   On behalf of Defendants:
        JOSH GARDNER, ESQUIRE
14      REBECCA KOPPLIN, ESQUIRE
        ALICE LACOUR, ESQUIRE
15      BRETT SHUMATE, ESQUIRE
        U.S. Department of Justice, Civil Division
16

17
18
        REDACTED
          VALERIE M. NANNERY, ESQUIRE
          ANDREW SAINDOM, ESQUIRE
19        Office of the Attorney General for D.C.




       REDACTED
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                                                                 Page 4

1               A P P E A R A N C E S            C O N T I N U E D
2    On behalf of Defendants:
          DAVID DOREY, ESQUIRE
3         DAVID DEWHIRST, ESQUIRE


4


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       REDACTED
6
     Also Present:
7         Dan Reidy, Video Technician
8
9
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18                           Veritext Legal Solutions
                                   Mid-Atlantic Region
                              1250 Eye Street NW - Suite 350
19                           Washington, D.C.          20005
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3        Counsel for Plaintiffs
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4              Ms. Hulett                                                 335
               Mr. Greenbaum                                              414
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1                          P R O C E E D I N G S

2                 VIDEO TECHNICIAN:          Good morning.         We are

3    going on the record at 9:05 a.m. on Friday,

4    October 26th, 2018.

5                 Please note that the microphones are

6    sensitive and may pick up whispering, private

7    conversations, and cellular interference.                     Please

8    turn off all cell phones or place them away from

9    the microphones, as they can interfere with the

10   deposition audio.

11                Audio and video recording will continue

12   to take place unless all parties agree to go off

13   the record.

14                This is media unit 1 of the

15   video-recorded deposition of John Gore, taken by

16   counsel for the plaintiff in the matter of the

17   New York Immigration Coalition, et al. versus the

18   United States Department of Commerce, et al.

19                This case is filed in the United States

20   District Court for the Southern District of New

21   York.

22                This deposition is being held at the law




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1    offices of Covington & Burling, LLP, located at

2    850 Tenth Street, Northwest, Washington, D.C.

3    20001.

4                 My name is Dan Reidy from the firm

5    Veritext Legal Solutions, and I'm the

6    videographer.         The court reporter is Christina

7    Hotsko from the firm Veritext Legal Solutions.

8                 I am not authorized to administer an

9    oath, I am not related to any party in this

10   action, nor am I financially interested in the

11   outcome.

12                Counsel and all present in the room will

13   now state their appearances and affiliations for

14   the record.        If there are any objections to

15   proceeding, please state them at the time of your

16   appearance, beginning with the noticing attorney.

17                MR. HO:      Detail Ho for the New York

18   Immigration Coalition plaintiffs.

19                MR. TOPAZ:       Jonathan Topaz for NYC

20   plaintiffs.

21                MS. HULETT:        Denise Hulett for Lupe

22   plaintiffs.




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                                                                Page 10

1                 MR. SPENCE:       Dorian Spence for BAJI and

2     the City of San Jose.

3                 MS. ANDRIOLA:        Eri Andriola for the Lupe

4     plaintiffs.

5                 MR. GREENBAUM:         John Greenbaum from the

6     City of San Jose and BAJI.

7                 MS. THOMAS:       Tina Thomas for the Kravitz

8     plaintiffs.

9                 MS. KOPPLIN:        Rebecca Kopplin from the

10    Department of Justice.

11                MS. LACOUR:       Alice Lacour from the

12    Department of Justice.

13                MR. SHUMATE:        Brett Shumate from the

14    Department of Justice.

15                MR. GARDNER:        Josh Gardner for the

16    Department of Justice on behalf of the defendants.

17                MR. SAINDOM:        Andrew Saindom on behalf of

18    the District of Columbia.

19                MS. NANNERY:        And Valerie Nannery from

20    the District of Columbia attorney general's

21    office.

22                MR. DOREY:       David Dorey from the




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1     Department of Commerce.

2                  MR. DEWHIRST:        David Dewhirst from the

3     Department of Commerce.

4                  VIDEO TECHNICIAN:          Will the court

5     reporter please swear in the witness.

6     Whereupon,                                                   Global Objection
7                                 JOHN GORE,                       401/403

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20           Q.   Before you began working at DOJ, you were

21    an attorney in private practice, correct?

22           A.   Yes.




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                                                                Page 15

1            Q.   And as an attorney in private practice,

2     you litigated some cases involving claims under

3     Section 2 of the Voting Rights Act, correct?

4            A.   Yes.

5            Q.   You're familiar with the term citizen

6     voting age population, the acronym C-V-A-P, or

7     what I'll refer to as CVAP today?

8            A.   Yes.

9            Q.   And you're familiar with the term ACS for

10    American Community Survey?

11           A.   I am.

12           Q.   You're familiar with the first

13    precondition for Section 2 liability under

14    Thornburg versus Gingles?

15           A.   Yes.

16           Q.   And one way of describing the first

17    Gingles precondition for Section 2 liability under

18    the Voting Rights Act is that plaintiffs must

19    demonstrate that racial minorities are

20    sufficiently numerous so as to form a majority of

21    a compact single-member district.               Is that your

22    understanding?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 16 of 530



                                                                Page 16

1            A.   That's -- more or less.            Yeah.
                                                                           401
2            Q.   Prior to coming to the Department of

3     Justice, with respect to all of the cases that you

4     litigated under Section 2 of the Voting Rights

5     Act, you represented defendants, correct?

6            A.   That's correct.

7            Q.   In all of your experience representing

8     defendants in cases under Section 2 of the Voting

9     Rights Act, you never took the position that the

10    plaintiffs block-level CVAP data was insufficient

11    to establish the first Gingles precondition

12    because it was a statistical estimate, correct?

13           A.   When I was in private practice, I was

14    representing a client, so my clients took various

15    positions.      And as a lawyer, I pursued those

16    positions on behalf of clients in court.                  I can't

17    recall an instance where a client of mine took

18    that position.

19           Q.   And in all of your experience litigating

20    cases under Section 2 of the Voting Rights Act,

21    you're not aware of, in any of your cases, a

22    situation where a court held that block-level CVAP




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 17 of 530



                                                                Page 17

1     data was insufficient to satisfy the first Gingles                    401

2     precondition because it was a statistical

3     estimate, correct?

4            A.   You're talking about cases I actually was

5     involved in?

6            Q.   That's correct.

7            A.   As a litigant or as attorney?

8            Q.   As an attorney.

9            A.   As an attorney.         No, I'm not aware of any

10    such case.

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21           Q.   So let me clarify my question.               My          401
22    question is about the technical aspects of




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                                                                Page 18

1     actually getting the census data, taking the                         401

2     mapping software, and drawing a district.

3                 You don't have any experience doing that,

4     correct?

5            A.   That's correct.         I've never sat in front

6     of a computer with Maptitude and drawn a district.

7            Q.   Okay.     You don't have any experience --

8     so that would mean you don't have any experience

9     drawing districts using ACS data, correct?

10           A.   That's correct.

11           Q.   And you don't have any experience taking

12    census block-group level data and performing an

13    estimation procedure to produce block-level data,

14    correct?

15           A.   No, I don't have that experience.

16           Q.   You're currently acting assistant

17    attorney general for civil rights at the U.S.

18    Department of Justice, correct?

19           A.   Correct.

20           Q.   And when did you become the acting AAG

21    for civil rights?

22           A.   July 28th, 2018.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 19 of 530



                                                                Page 19

1            Q.   In that position, you are the head of the

2     civil rights division, correct?

3            A.   Correct.

4            Q.   And you're a political appointee; you're

5     not career civil rights division staff, correct?

6            A.   Correct.

7            Q.   One of the sections under your purview

8     within the civil rights division is the voting

9     section, correct?

10           A.   Correct.

11           Q.   And one of the duties of the voting

12    section is to enforce Section 2 of the federal

13    Voting Rights Act of 1965, correct?

14           A.   That's correct.

15           Q.   Is it fair to say that, as acting AAG for

16    civil rights, you are authorized to speak on

17    behalf of the civil rights division?

18           A.   I think with respect to matters that fall

19    within the purview of the civil rights division

20    and the Office of the Assistant Attorney General

21    for the civil rights division, that's correct, as

22    a general matter.




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17           Q.   The Department of Justice sent a letter

18    to the Census Bureau on December 12th, 2017,

19    requesting that a citizenship question be included

20    on the 2020 decennial census questionnaire,

21    correct?

22           A.   I have no basis to dispute the date




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                                                                Page 21

1     there.     Yes, the department did send a letter.

2     Whether it was December 12th -- I believe that's

3     correct, but I don't have the letter in front of

4     me, so I can't testify to that date necessarily.

5     But yes, there was a letter that was sent in that

6     time frame from the Department of Justice to the

7     Census Bureau.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 22 of 530



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1    REDACTED
2            Q.   The letter does not express any reason

3     for requesting a citizenship question be added to

4     the 2020 decennial census questionnaire besides

5     Voting Rights Act enforcement, correct?

6            A.   Again, I think the letter speaks for

7     itself.     And I don't have a copy of it in front of

8     me, so I can't say what it does or doesn't say.

9                   REDACTED




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 24 of 530



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3             Q.   You agree that the department is seeking

4     the most complete and accurate data regarding

5     total citizenship rates in voting districts that

6     the Census Bureau can provide, correct?

7             A.   Yes, that's correct.

8             Q.   And do you believe that the letter from

9     the Department of Justice to the Census Bureau

10    requesting the inclusion of a citizenship question

11    is consistent with the department's goal of

12    seeking the most complete and accurate data

13    regarding total citizenship rates that the Census

14    Bureau can provide?

15            A.   I think it's consistent with that

16    objective, but is not the full picture of the data

17    that the Department of Justice would use and would

18    want to have at its disposal.

19            Q.   When you say that it is not the full

20    picture of the data that the Department of Justice

21    would use and want to have, what did you mean by

22    that?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 25 of 530



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1            A.   Well, what I mean is there are various

2     sources of data on citizenship.               And in the modern

3     world, we live in a data-driven world.                 And the

4     Department of Justice is always trying to find the

5     best possible data, whether it's from one source

6     or multiple sources, to analyze jurisdictions for

7     potential Section 2 violations and to bring

8     appropriate Section 2 enforcement actions.

9                 And the letter lays out reasons why -- is

10    my recollection -- reasons why collecting data

11    from the census questionnaire, in addition to

12    other sources, would be an appropriate means for

13    the Department of Justice to collect the best

14    possible total data that it could collect.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 26 of 530



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1            Q.   Okay.     Decennial census questionnaire,

2     American Community Survey.             Besides those two

3     sources, are there other sources of citizenship

4     data that you're aware of that the Department of

5     Justice could rely on for purposes of Section 2

6     enforcement?

7            A.   Not that I'm aware of.

8            Q.   You agree that having the most complete

9     and accurate data regarding citizenship rates that

10    the Census Bureau could provide would allow the

11    department to fulfill its commitment to robustly

12    enforcing the Voting Rights Act?

13           A.   Yes, I do.

14           Q.   I want to show you another document.

15    It's been pre-marked as Exhibit 2.

16                (Gore Deposition Exhibit 2 marked for

17                identification and attached to the

18                transcript.)

19    BY MR. HO:

20           Q.   This is a Bloomberg transcript of your

21    testimony on May 21, 2018, before the House                          401

22    Oversight Committee.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 27 of 530



                                                                Page 27
                                                                           401
1                 Do you remember your testimony that day?

2            A.   I do.

3            Q.   You were under oath that day under

4     penalty of perjury, correct?

5            A.   I was.

6            Q.   And you testified truthfully that day,

7     correct?

8            A.   I did.

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18                You wanted to make sure that your                        401
19    testimony on May 21st was accurate, right?

20           A.   Yes.

21           Q.   And you wanted to make sure that -- to

22    the extent you could discuss the issues that were




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 30 of 530



                                                                Page 30

1     raised that day, you wanted to make sure that your                   401

2     testimony was complete, right?

3            A.   Yes, to the extent I was able to testify

4     about matters consistent with Department of

5     Justice policy and privileges.

6            Q.   And you didn't want to leave anything

7     important out of your testimony on May 21st,

8     correct?

9                 MR. GARDNER:        Objection.      Form.

10                THE WITNESS:        I think that's largely

11    correct, although again, there were strict limits

12    on the testimony that I could give, the topics

13    that I was authorized to discuss, and how I could

14    go about answering questions.

15

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20           Q.   And you held a moot to prepare for your                  401
21    testimony on May 21st, right?

22           A.   That sounds right.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 31 of 530



                                                                Page 31

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5            Q.   You're not aware of any voting section                   401
6     staff being invited to participate in your moot to

7     prepare for the May 21st hearing, correct?

8            A.   To the -- I think that's correct.

9            Q.   And no career voting section staff

10    attended your moot on -- to prepare for the May

11    21st hearing, correct?

12           A.   That's correct, although voting section

13    staff did help me prepare for the hearing.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 33 of 530



                                                                Page 33

1    REDACTED
2                 It's still your view that the Department

3     of Justice needs citizen voting age population

4     data at the census block level to enforce

5     Section 2 of the Voting Rights Act, correct?

6            A.   Yes, in some form or another.              The

7     citizenship data at the block level is necessary

8     to bring Section 2 cases.

9            Q.   And the census block is the smallest unit

10    of census geography, right?

11           A.   That is correct.

12           Q.   The next sentence of your testimony

13    reads, "And our letter explains why hard count

14    census data would be better suited for that

15    purpose than the ACS.           It's easier to use because

16    it's already available at the block level and more

17    accurate because it's hard count and not a" -- and

18    then you were interrupted.

19                When you say hard count census data,

20    you're drawing a distinction between an actual

21    count, like the decennial census enumeration, and

22    statistical estimates based on a sample survey




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 34 of 530



                                                                Page 34

1     like the ACS, correct?

2            A.    That's correct.

3            Q.    Okay.     And your testimony is that hard

4     count data is preferable to available statistical

5     estimates, like the ACS, for purposes of VRA

6     enforcement, correct?

7            A.    Yes.     And I think what I was testifying

8     to here is what's in the letter, which again, is

9     not in front of me.           But my recollection of the

10    letter is that it laid out reasons why that hard

11    count data would be more appropriate than an ACS

12    estimate for that purpose.

13           Q.    How about -- turn to page 27 of the

14    transcript.         In the first full paragraph on page

15    27, you testified, "And having more -- having it

16    on the census would make it easier for us to use

17    and it would also make it more accurate, or at

18    least that's the judgment of the Census Bureau."

19                 When you referred to the judgment of the

20    Census Bureau, what were you referring to?

21           A.    I think I was referring to two things.

22    First of all, I was -- I only know anything about




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 35 of 530



                                                                Page 35

1     the judgment of the Census Bureau from publicly

2     available information.            Secretary Ross issued a

3     memo of decision with respect to the letter that

4     the Department of Justice submitted in which he

5     decided, among other things, to order

6     reinstatement of the citizenship question on the

7     census questionnaire.

8                  I also had watched at least portions of

9     the May 8th hearing before the committee that you

10    referenced earlier, and understood from testimony

11    at that hearing that that was the position of the

12    Census Bureau.

13           Q.    So when you say the judgment of the

14    Census Bureau, whose judgment, if you could

15    identify individuals, are you referring to?

16           A.    Secretary Ross would be one.               And the

17    other would be -- I can't remember who it was who

18    testified at the hearing, but it was whoever

19    testified at the hearing about the accuracy of a

20    hard count versus an estimate.                It may have been

21    Ron Jarmin or somebody else.               I just can't

22    remember.




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3            Q.    And when you say Ron Jarmin, you're

4     referring to the acting director of the Census

5     Bureau?

6            A.    That's who I understand he is.                I've

7     never met him.

8            Q.    When you testified that it was the

9     judgment of the Census Bureau that CVAP data

10    collected through the decennial enumeration would

11    be more accurate, what did you mean by more

12    accurate?

13           A.    As I understand the judgment of the

14    Census Bureau, it's that the hard count would be

15    more accurate than an ACS estimate because an ACS

16    estimate has a margin of error associated with it

17    and also requires an extrapolation because, as

18    you're no doubt aware, the ACS estimates are only

19    released at the block group level, and so further

20    extrapolation is required to estimate CVAP levels

21    at the block level.

22                 And it was my understanding, from




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 37 of 530



                                                                Page 37

1     Secretary Ross' memo and the testimony that I

2     believe I heard on May 8th, that the Census Bureau

3     believed that a hard count would be more accurate

4     than estimates of an extrapolation with an

5     associated margin of error.

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10           Q.   Now, all things being equal, the

11    Department of Justice would want to use the CVAP

12    data that was, in the Census Bureau's view, the

13    more accurate data available, correct?

14           A.   I think that's probably correct.                I guess

15    I could imagine a scenario, which I don't know is

16    present here or not, where we would make a

17    different judgment as to what was more accurate

18    than the Census Bureau might.              But that's correct.

19           Q.   When you say we would make a different

20    judgment as to what is more accurate than the

21    Census Bureau might, who's we?

22           A.   The Department of Justice.




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16           Q.   Do you think you're better situated than

17    career Census Bureau professionals to make an

18    assessment as to the accuracy of various forms of

19    CVAP data?

20           A.   Me personally?

21                MR. GARDNER:        Objection to form.

22                THE WITNESS:        Me personally?




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 40 of 530



                                                                Page 40

1     BY MR. HO:

2            Q.   Yes.

3            A.   No, I don't.

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4
     REDACTEDQ.   One more question about your testimony                   401

5     for now.      On page 27, the last question on the

6     page from Representative Gowdy:               "So if

7     Secretary Ross wanted to include a question,

8     what's your favorite movie, how would a court

9     determine whether or not that was an appropriate

10    question?      I mean, I guess what I'm getting at is,

11    what is the standard by which you judge the

12    legitimacy of the inclusion or exclusion of a

13    question on the census form?"

14                Your response:         "I think that is a very

15    good question.        It's probably better directed to

16    the commerce department.            I'm not involved in the

17    litigation.       That's being handled out" -- and then

18    you got cut off.

19                What do you mean when you testified on

20    May 21st that you're not involved in the

21    litigation over the citizenship question?

22           A.   I am not a counsel of record in that




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 44 of 530



                                                                Page 44

1     case.        I have not been involved in litigating that             401
2     case on behalf of the United States.                 I have not

3     written any of the briefs, filed any of the

4     pleadings, or done anything like that.                 I am a

5     witness in the case, obviously here -- sitting

6     here today, and was involved in the decision that

7     was made by the Department of Justice.

8                    But under Department of Justice

9     regulations, this is defensive litigation that's

10    being handled by the civil division, and the

11    counsel of record is in the civil division, not

12    the civil rights division.

13            Q.     When you say that you're not counsel of

14    record, are you counsel in some other capacity in

15    this litigation?

16                   MR. GARDNER:     Objection.      Vague.

17                   THE WITNESS:     No.

18    BY MR. HO:

19            Q.     And you're not a party in this case,

20    right?

21            A.     No.

22            Q.     And neither the civil rights division nor




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 45 of 530



                                                                Page 45

1     the Department of Justice itself is a party in

2     this case, correct?

3            A.   That's my understanding.            I believe the

4     case was brought against the Department of

5     Commerce, but I've not studied the pleadings

6     closely enough to know whether or not the

7     Department of Justice is a party, but I believe

8     it's not.

9            Q.   And you wouldn't describe yourself as a

10    consultant giving legal advice to counsel of

11    record in this case, would you?

12           A.   No.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 46 of 530



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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 47 of 530



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1            Q.   I want to show you a document which we'll                  802

2     mark as Exhibit 3.

3                 (Gore Deposition Exhibit 3 marked for

4                 identification and attached to the

5                 transcript.)

6     BY MR. HO:

7            Q.   This bears the Bates number 000311.                 It's

8     a letter dated November 4th, 2016, from Arthur

9     Gary to then Census Bureau Director John Thompson.

10                We discussed Mr. Gary before.              You sent

11    him those talking points in December of 2017,

12    right?

13           A.   I did.     Yes.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 48 of 530



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1    REDACTED
2            Q.   In his first sentence, Mr. Gary writes to                601/
                                                                           802
3     Mr. Thompson, "This letter supplements my letter

4     of July 1st, 2016, in which I advised that, at

5     that time, the Department of Justice had no needs

6     to amend the current content or uses or to request

7     new content in the American Community Survey (ACS)

8     for the 2020 census."

9                 Did I read that right?

10           A.   Yes.

11           Q.   On July 1, 2016, DOJ sent a letter to the

12    Census Bureau indicating that it had no need to

13    amend the current content or to request new

14    content in the ACS for the 2020 census, correct?

15                MR. GARDNER:        Objection.      Lack of

16    foundation.

17                THE WITNESS:        I have no basis to answer

18    that question.        I wasn't employed at the

19    department on July 1, 2016.             And I don't believe

20    I've ever seen a July 1, 2016, letter from the

21    department to the Census Bureau.

22                That's certainly what that sentence says,




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 49 of 530



                                                                Page 49

1     but I can't verify or testify to that.                 I have no

2     firsthand knowledge on that topic.

3     BY MR. HO:

4            Q.   You're not aware of the Department of

5     Justice, on July 1st, 2016, requesting new content

6     for the American Community Survey or the 2020

7     decennial census, are you, Mr. Gore?

8                 MR. GARDNER:        Objection.      Lack of

9     foundation.

10                THE WITNESS:        I don't believe I am, no.

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19           Q.   Sure.     This November 4th, 2016, letter                601/
                                                                           802
20    formally requested that the Census Bureau include

21    a topic on the ACS relating to LGBT populations,

22    correct?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 50 of 530



                                                                Page 50

1                 MR. GARDNER:        Objection.      Lack of

2     foundation.

3                 THE WITNESS:        It appears to.        Yeah.

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20           Q.   Okay.     But the face of this letter does               601/
                                                                           802
21    not make requests for any additional information

22    on either the ACS or the 2020 census questionnaire




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 51 of 530



                                                                Page 51

1     other than a request about LGBT populations for                      601/
                                                                           802
2     the ACS, correct?

3                 MR. GARDNER:        Objection.      Lack of

4     foundation.

5                 THE WITNESS:        That appears to be correct

6     on the face of the letter.

7     BY MR. HO:

8            Q.   This letter does not make any mention of                 601/
                                                                           802
9     a request for citizenship data, correct?

10                MR. GARDNER:        Same objection.

11                THE WITNESS:        It does not on its face.

12    BY MR. HO:

13           Q.   This letter does not make any request for                601/
                                                                           802
14    the inclusion of a citizenship question on the

15    census questionnaire, correct?

16                MR. GARDNER:        Same objection.

17                THE WITNESS:        It does not appear to.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 52 of 530



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22           Q.   Are you aware of any changes in law since




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 55 of 530



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1     November 4th, 2016, with respect to the data that

2     plaintiffs can rely on to establish the first

3     Gingles precondition for Section 2 liability under

4     the Voting Rights Act?

5            A.   I'm not aware of any changes in law on

6     that point, I don't believe.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 56 of 530



                                                                Page 56

1            Q.   Are you aware of any changes to the forms

2     of citizenship data available to plaintiffs

3     bringing Voting Rights Act claims in order to

4     satisfy the first Gingles precondition?

5            A.   I'm not aware of any changes in the forms

6     of data.      I guess what I'm struggling with on your

7     question is I don't think that that forecloses a

8     request to reinstate the citizenship question on

9     the census questionnaire.

10        REDACTED
11           A.   So what the department is looking for is Non-
                                                                           Responsive
12    the most complete and accurate data it can

13    possibly have to perform it function, and this is

14    one more source of data that would allow the

15    Department of Justice to carry out its enforcement

16    mission.

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12           Q.   Are you aware of any changes in the                      601
13    social sciences about the assessment in that

14    community of the accuracy of citizenship estimates

15    based on ACS data since November 4th, 2016?

16                MR. GARDNER:        Objection.      Form.

17                THE WITNESS:        Which community?

18    BY MR. HO:

19           Q.   The social scientific community.

20           A.   Okay.

21                MR. GARDNER:        Same objection.

22                THE WITNESS:        I'm not aware of any




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 58 of 530



                                                                Page 58

1     changes.      I am aware that there are questions that               601
2     have been raised in the social science community

3     about the accuracy of the estimates and

4     extrapolations that are derived from the ACS data.

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9            Q.   I'm going to show you a document,

10    Exhibit 4.      This is a memo data November --

11    September 8th, 2017, from Earl Comstock to

12    Commerce Secretary Wilbur Ross.               It's in the

13    administrative record in this case.                Although this

14    printout doesn't bear the number, I believe it is

15    AR12756.

16                Do you know Mr. Comstock?

17           A.   No, I don't, actually.

18           Q.   The first paragraph of Mr. Comstock's

19    memo reads, "In early May, Eric Branstad put me in

20    touch with Mary Blanche Hankey as the White House

21    liaison in the Department of Justice.                 Mary

22    Blanche worked for AG Sessions in his senate




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 59 of 530



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1     office and came with him to the Department of

2     Justice.      We met in person to discuss the

3     citizenship question.           She said she would locate

4     someone at the department who could address the

5     issue.      A few days later, she directed me to James

6     McHenry in the Department of Justice."

7                  Now, before I read that, were you aware

8     that sometime prior to September 8th, 2017,

9     officials from the Department of Commerce had

10    spoken with officials within the Department of

11    Justice regarding the issue of a citizenship

12    question on the census?

13           A.    Yes.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 60 of 530



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17           Q.   The conversations that occurred that are

18    referenced in this paragraph that happened between

19    Commerce and Justice officials before

20    September 8th, 2017 --

21           A.   Yes.

22           Q.   -- you were aware of those conversations




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                                                                Page 62

1     prior to the date when the Department of Justice's

2     letter went to the Census Bureau to request a

3     citizenship question in December of 2017, correct?

4            A.   Yes.

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20           Q.   When you say that you were aware that two

21    or more people had talked to each other, which

22    people were you aware had talked to each other?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 64 of 530



                                                                Page 64

1            A.   It was my understanding that somebody

2     from Commerce had spoken to Mary Blanche Hankey,

3     that someone had spoken to James McHenry, and that

4     Secretary Ross had spoken to the attorney general.

5            Q.   And that all of those conversations were

6     about the inclusion of a citizenship question on

7     the census?

8            A.   I wasn't a party to those conversations,

9     but my understanding is that they would have

10    touched on that issue.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 65 of 530



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3            Q.   During this period, Mr. McHenry was not

4     staff in the civil rights division, correct?

5            A.   That's correct.

6            Q.   And Mr. McHenry did not have any formal

7     duties with respect to enforcement of the Voting

8     Rights Act during this period, correct?

9            A.   He had no formal duties.            As I recall, he

10    was for some period of time our point of contact

11    in the Office of the Associate Attorney General,

12    which is why I remember he was there.                 But he did

13    not have formal duties with respect to

14    enforcement.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 66 of 530



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2            Q.   So you don't know of any reasons why

3     Mr. McHenry could address the issue of including a

4     citizenship question on the census?

5                 MR. GARDNER:        Same objection.

6                 THE WITNESS:        I -- I don't know one way

7     or the other.

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5            Q.   What was your understanding of who

6     initiated those conversations?

7            A.   My understanding was that those

8     conversations were initiated by the Department of

9     Commerce.

10           Q.   Those initial conversations that are

11    referred to in this memo, your testimony is that,

12    to the best of your knowledge, those conversations

13    were not initiated by the Department of Justice,

14    correct?

15           A.   Again, I wasn't a party to those

16    conversations, but that's been my working

17    understanding.

18           Q.   And your working understanding is that

19    the Department of Justice did not reach out to the

20    Department of Commerce to initiate those

21    conversations for the purposes of obtaining better

22    data to enforce the Voting Rights Act, correct?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 68 of 530



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1                 MR. GARDNER:        Objection.      Lack of

2     foundation.

3                 THE WITNESS:        Again, I wasn't a party to

4     those conversations, but that's been my working

5     understanding.

6    REDACTED
7            Q.   The second paragraph in this memo reads,

8     "I spoke several times with James McHenry by phone

9     and, after considering the matter further, James

10    said that Justice staff did not want to raise the

11    question, given the difficulties Justice was

12    encountering in the press at the time, the whole

13    Comey matter.        James directed me to Gene Hamilton

14    at the Department of Homeland Security."

15                So were you aware, before I read that,                   601
16    that as of September 8th, 2017, Justice staff did

17    not want to raise the citizenship question?

18                MR. GARDNER:        Objection.      Lack of

19    foundation.

20                THE WITNESS:        Before you read that, yes,

21    I was aware of that.

22




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 69 of 530



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     REDACTED     So your understanding is that, as of

5     September 8th, 2017, Justice staff did not want to

6     raise the citizenship question, correct?

7            A.   Yes, that's my understanding, although it

8     wasn't my understanding on September 8th; it was

9     an understanding that I acquired later.

10           Q.   When did you acquire the understanding

11    that, as of September 8th, Justice staff did not

12    want to raise the issue of a citizenship question?

13           A.   Again, I think it was along the same

14    timeline that I learned that these conversations

15    had taken place, the conversations referenced in

16    the first paragraph and the second paragraph

17    involving Mr. McHenry.           And I believe I became

18    aware of those sometime after September 8th and

19    before the letter was sent from the Department of

20    Justice.

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1    REDACTED
2            Q.   When did you first become involved in

3     deliberations about whether or not to request a

4     citizenship question on the decennial census

5     questionnaire?

6            A.   I first became involved in either late

7     August or early September of 2017.

8            Q.   You can't get more precise than late

9     August or early September?

10           A.   Well, I think it was either a day or two

11    before Labor Day in 20 -- the Labor Day weekend in

12    2017 which I think that year may have fallen in

13    late August.

14           Q.   So as of September 8th, 2017, the date of

15    Mr. Comstock's memo, your best recollection is

16    that, as of that date, you were already involved

17    in deliberations over whether or not to include a

18    -- to request a citizenship question for the 2020

19    census questionnaire?

20           A.   That is correct.         And I don't know --

21    Mr. Comstock's memo is dated September 8th.                   He

22    doesn't give any dates for any of these




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 74 of 530



                                                                Page 74

1     conversations, so I don't know if this memo was

2     contemporaneous to conversations or related back

3     to prior conversations he'd had.

4                 But yes, that's my recollection, that, as

5     of September 8th, I would have been involved in

6     those deliberations.

7            Q.   How did you become involved in

8     deliberations over whether or not to request the a

9     citizenship question be included on the

10    2020 census questionnaire?

11                MR. GARDNER:        Objection.

12                To the extent that that answer would

13    cause you to reveal information subject to

14    deliberative process privilege, I instruct you not

15    to answer.      To the extent you can answer that

16    question without divulging such information, you

17    may do so.

18                THE WITNESS:        I became involved through a

19    conversation I had with two individuals at the

20    Department of Justice.

21    BY MR. HO:

22           Q.   Which two individuals at the Department




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 75 of 530



                                                                Page 75

1     of Justice?

2            A.   The attorney general and Mary Blanche

3     Hankey.

4            Q.   Roughly when did your conversations with

5     Mary Blanche Hankey and the attorney general

6     occur?

7                 MR. GARDNER:        Objection.      Compound.

8                 THE WITNESS:        It was the day or two

9     before the Labor Day weekend.              The reason I

10    remember that is that the attorney general is a

11    college football fan, and he's a fan of the Auburn

12    Tigers, so I ended the call with the cry for War

13    Eagle, since the Auburn Tigers were playing their

14    first game of the season that weekend.

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5            Q.   Had the decision already been made as of

6     the date of your conversation with Attorney

7     General Sessions to request a citizenship question

8     be included on the 2020 census questionnaire?

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22           Q.   As of the date of your first conversation




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                                                                Page 78

1     with Attorney General Sessions, did you already

2     have a few that hard count CVAP data would better

3     suit DOJ's needs with respect to VRA enforcement

4     than ACS estimates?

5            A.    No, I don't believe I did.

6            Q.    When did you arrive at the view that

7     hard count decennial census data with respect to

8     citizenship would better suit DOJ's VRA

9     enforcement needs as compared to ACS citizenship

10    estimates?

11           A.    I'm sorry.       Your question was when?

12           Q.    Yes.

13           A.    Sometime before the letter was sent.

14           Q.    Can you give a more specific time frame

15    than that?

16           A.    Probably not.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 79 of 530



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     REDACTEDQ.   As of the date of your conversation with

4     Attorney General Sessions, did you already have

5     the view that the decennial census questionnaire

6     would be the best vehicle for collecting CVAP data

7     for purposes of VRA enforcement?

8            A.   I don't recall having a view on that one

9     way or the other as of that time.

10           Q.   As of the date of Mr. Comstock's memo

11    on September 8th, 2017, did you already have the

12    view that the decennial census would be the best

13    vehicle for collecting CVAP data for purposes of

14    VRA enforcement?

15           A.   I don't recall having a view on that

16    issue one way or the other.

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16           Q.   You mentioned you had a conversation with

17    the attorney general around Labor Day.                 Did you

18    understand from that conversation that the

19    Secretary of Commerce initiated the conversation

20    between the Secretary of Commerce and the attorney

21    general?      Correct?

22           A.   That's been my working understanding.




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 84 of 530



                                                                Page 84

1     Yes.

2            Q.   Your working understanding is not that

3     the attorney general initiated a conversation with

4     the Secretary of Commerce about the citizenship

5     question, correct?

6            A.   That's correct.

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18           Q.   Who are the three individuals at the

19    Department of Commerce --

20           A.   Sure.

21           Q.   -- that you spoke to about the

22    citizenship question on the census?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 92 of 530



                                                                Page 92

1            A.   I didn't mean to cut you off, and I

2     apologize, again, to the court reporter for being

3     a fast talker.

4                 I recall speaking to Peter Davidson,

5     James Uthmeier, U-T-H-M-E-I-E-R -- and Wendy

6     Teramoto.

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18           Q.   Who was the first of those three

19    individuals that you had a conversation with about

20    the inclusion of a citizenship question on the

21    2020 census?

22           A.   Peter Davidson.




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 93 of 530



                                                                Page 93

1            Q.   And roughly when was your first

2     conversation with Peter Davidson about including a

3     citizenship question on the 2020 census?

4            A.   I don't recall exactly, but I would say

5     it was probably around mid-September of 2017 or

6     somewhere in that time frame.

7            Q.   After you spoke to Mr. Davidson in

8     mid-September, what was the next conversation that

9     you had among those three individuals from

10    Commerce about the citizenship question?

11           A.   I don't recall exactly when it was.                 I

12    had several conversations with Peter Davidson

13    beginning in September and continuing through

14    December.      I had a couple of conversations as well

15    with Mr. Uthmeier, including at least one between

16    just Mr. Uthmeier and me and one, and maybe two,

17    where Mr. Uthmeier and Peter Davidson were both

18    involved.      Then I had a conversation at one point

19    with Wendy Teramoto about a scheduling issue that

20    I think took place in October of 2017, but I don't

21    recall exactly.        Somewhere in that time frame.

22           Q.   Roughly when was your first conversation




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 94 of 530



                                                                Page 94

1     with Mr. Uthmeier about the citizenship question?

2            A.   I think it would have been either late

3     September or sometime in October of 2017.

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17           Q.   Mr. Gore, I just want to follow up

18    on something from before the break.                The

19    communications between the Department of Justice

20    and the Department of Commerce about the

21    citizenship question, those communications were

22    not initiated by the voting section, correct?




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 95 of 530



                                                                Page 95

1            A.   That's correct.         That's my understanding.

2            Q.   And those communications were not

3     initiated by anyone else in the civil rights

4     division, correct?

5            A.   Correct.

6            Q.   And you did not initiate the

7     communications between Commerce and Justice about

8     the citizenship question, correct?

9            A.   That's correct.

10

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     REDACTED
14           Q.   In front of you is a document that's been

15    marked as Exhibit 7.          It's an e-mail thread

16    between, among other people, you, Macie Leach, and

17    Wendy Teramoto.        The first page of the document is

18    Bates marked 0002628.           It's from the

19    administrative record.

20                MR. GARDNER:        I think you may have said

21    Exhibit 7.      It's Exhibit 6.

22                MR. HO:      Oh, I'm so sorry.         Exhibit 6.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 96 of 530



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9            Q.   And that's two days after your exchange

10    with Mr. Gary regarding 2020 census questions,

11    correct?

12           A.   Correct.

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21           Q.   The DOJ-DOC issue that you're referring

22    to in this e-mail is the citizenship question,




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 97 of 530



                                                                Page 97

1     correct?

2            A.   Correct.

3            Q.   What prompted you to reach out to

4     Ms. Teramoto to talk to her about the citizenship

5     question?

6                 MR. GARDNER:        Objection.

7                 To the extent that that answer calls for

8     the divulsion of information subject to

9     deliberative process privilege, I instruct you not

10    to answer.      To the extent you can answer that

11    question without divulging such information, you

12    may do so.

13                THE WITNESS:        It was a conversation I had

14    with Peter Davidson.

15

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     REDACTED
19           Q.   And what is Mr. Davidson's role at

20    Commerce?

21           A.   I don't know what his current role is.

22    At the time, I understood him to be the general




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 98 of 530



                                                                Page 98

1     counsel of the Department of Commerce.

2            Q.   How did you come to talk to Mr. Davidson?

3            A.   He called me.

4

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14           Q.   And Mr. Davidson asked you to reach out

15    to Ms. Teramoto?

16           A.   Yes, he did.

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                                                               Page 102

1     REDACTED
2            Q.    Okay.     I'm going to show you an e-mail

3     that's been marked as Exhibit 7.                It's an e-mail

4     exchange between, among other people, you and

5     Ms. Teramoto.        The first page of it bears the

6     Bates number 0002657.           The top e-mail on the chain

7     is dated 9/16/2017 from Danielle Cutrona to you,

8     Mr. Gore, with a cc to Ms. Teramoto.                 It's part of

9     the administrative record.

10                 This e-mail thread -- or the top e-mails

11    on this thread, these are subsequent to the e-mail

12    that we talked about earlier between you and

13    Ms. Teramoto, correct?

14           A.    Correct.

15

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19           Q.    And you, after speaking with

20    Ms. Teramoto, then introduced her to Danielle

21    Cutrona from the Department of Justice, correct?

22           A.    That's correct.




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 103 of 530



                                                               Page 103

1             Q.   And Ms. Cutrona was a senior advisor to

2     the attorney general at this time, correct?

3             A.   That's probably a fair characterization,

4     yeah.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 104 of 530



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2    REDACTED
3            Q.    You're not aware of any experience that

4     Ms. Cutrona has with respect to enforcing

5     Section 2 of the Voting Rights Act, correct?

6            A.    That's correct.

7            Q.    Did Ms. Teramoto and Ms. Cutrona connect

8     after this e-mail exchange?

9            A.    I believe that they did.

10           Q.    How do you know that?

11           A.    Because I believe that Danielle let me

12    know that they had.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 105 of 530



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8            Q.    This is a continuation of the e-mail

9     chain between you and Ms. Cutrona and

10    Ms. Teramoto.        The first page of it has the Bates

11    number 0002653.         It's part of the administrative

12    record in this case.           And the e-mail at the top is

13    dated September 17th, 2017, from Ms. Cutrona to

14    Ms. Teramoto.

15                 The e-mail from Ms. Cutrona to

16    Ms. Teramoto at the top reads, "Wendy, the

17    attorney general is available on his cell.                   His

18    number is" -- and then the number is redacted.

19    "He is in Seattle, so he's three hours behind us.

20    From what John told me, it sounds like we can do

21    whatever you all need us to do and the delay was

22    due to a miscommunication.             The AG is eager to




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 106 of 530



                                                               Page 106

1     assist."

2                  So you had a conversation with

3     Ms. Cutrona, correct?

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18           Q.    Okay.     I'm going to show you another

19    document.       We'll mark this as Exhibit 9.

20                 (Gore Deposition Exhibit 9 marked for

21                 identification and attached to the

22                 transcript.)




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 111 of 530



                                                               Page 111

1     BY MR. HO:

2            Q.    This is another e-mail from the

3     administrative record, the first page of which --

4     the only page of which has Bates number 0002636.

5     The top e-mail is an e-mail to you dated

6     September 18th, 2017.           September 18th, 2017,

7     that's two days after you connected Ms. Teramoto

8     and Ms. Cutrona, correct?

9            A.    That seems to be correct.            Yes.

10           Q.    And the e-mail to you states, "Hi.                AG

11    and Sec spoke.         Please let me know when you have a

12    minute."

13                 What did you understand that to mean, AG

14    and Sec spoke?

15           A.    I understood it to mean what it says it

16    means, that the attorney general and the Secretary

17    spoke.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 112 of 530



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6            Q.    I'm not asking for the content of the

7     conversation, just whether or not they spoke about

8     the citizenship question.             Is that your

9     understanding?

10           A.    Yes, that would be my understanding.

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14           Q.    Let me show you another document.               We'll    802
15    mark this as Exhibit 10.

16                 (Gore Deposition Exhibit 10 marked for

17                 identification and attached to the

18                 transcript.)

19    BY MR. HO:

20           Q.    This is an e-mail to you dated

21    September 22nd, 2017.           Just so the record is

22    clear, this was produced to us in discovery.                    The




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 116 of 530



                                                               Page 116
                                                                            802
1     electronic version has a file name that's stamped

2     DOJ 30651, but the document itself does not bear a

3     Bates number.

4                  Mr. Gosre, this is an e-mail to you from

5     Camille Legore-Traore, correct?

6            A.    Legore-Traore is I believe how she says

7     it, but yes.

8            Q.    And it's dated September 22nd, 2017?

9            A.    Correct.

10           Q.    And this e-mail informs you that James

11    Uthmeier from the Department of Commerce called to

12    speak with you, correct?

13           A.    That's correct.

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14           Q.    And at the time Mr. Uthmeier -- of this

15    e-mail -- at the time of this e-mail, Mr. Uthmeier

16    worked in the general counsel's office in the

17    Commerce Department, correct?

18           A.    That's correct.

19           Q.    To the best of your knowledge,

20    Mr. Uthmeier does not have any Voting Rights Act

21    enforcement responsibilities, correct?

22           A.    Correct.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 118 of 530



                                                               Page 118

1            Q.    And to the best of your knowledge,

2     Mr. Uthmeier does not have any experience

3     enforcing the Voting Rights Act, correct?

4            A.    That is correct as well.            Yeah.

5            Q.    Did you ever return Mr. Uthmeier's call?

6            A.    Yes.    I believe I did.

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15           Q.    Did you talk to him about the citizenship

16    question?

17           A.    Yes, among other things.

18           Q.    At some point you received a note and a

19    memo from Mr. Uthmeier concerning the citizenship

20    question, correct?

21           A.    That's correct.

22           Q.    Was the note handwritten?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 119 of 530



                                                               Page 119

1             A.   Yes, it was.

2             Q.   How was the note transmitted to you?

3             A.   Along with the memo, it was delivered to

4     my office.

5

6          REDACTED
7             Q.   Was it after receiving this phone call to

8     your office from Mr. Uthmeier on September 22nd,

9     2017?

10            A.   I believe so, yes.

11            Q.   Was it before the Department of Justice

12    sent its letter to the Census Bureau on

13    December 12th, 2017, requesting the citizenship

14    question?

15            A.   Yes.

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21           Q.    Did the note solicit legal advice from

22    you?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 121 of 530



                                                               Page 121

1            A.    No.

2            Q.    And you didn't provide legal advice in

3     response to that note, correct?

4            A.    I believe I may have, actually.

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     REDACTED
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13           Q.    Okay.     So you think you did provide legal

14    advice to Mr. Uthmeier in response to the memo?

15           A.    Now you've changed the question.

16           Q.    Yeah.

17           A.    No, I didn't provide legal advice to

18    Mr. Uthmeier.

19           Q.    Did you provide legal advice to the

20    Department of Commerce in response to the note

21    from Mr. Uthmeier?

22           A.    I did -- I did discuss -- now that you




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 122 of 530



                                                               Page 122

1     mention it, I did discuss the note with

2     Mr. Uthmeier and Mr. Davidson.

3            Q.    Did you provide legal advice to the

4     Department of Commerce in connection with the note

5     from Mr. Uthmeier?

6            A.    Yes.

7            Q.    At this point were you anticipating

8     litigation over the possibility of including a

9     citizenship question in the census?

10           A.    I'm sorry.      Can you say that again?

11           Q.    At this point --

12           A.    Right.

13           Q.    -- when you received the handwritten note

14    from Mr. Uthmeier, were you anticipating

15    litigation over the possibility of the inclusion

16    of the citizenship question on the census?

17           A.    Absolutely.

18           Q.    Did the -- was the note shared with you                  601

19    in anticipation of litigation over the citizenship

20    question?

21                 MR. GARDNER:       Objection.       Lack of

22    foundation.         Calls for speculation.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 123 of 530



                                                                Page 123
                                                                            601
1     BY MR. HO:

2            Q.    If you know.

3            A.    That would be speculating.             I don't know.

4            Q.    Did the note state one way or the other

5     whether or not it was prepared in anticipation of

6     litigation?

7            A.    I don't recall that it did.

8            Q.    And did the note state one way or the

9     other whether or not it was requesting legal

10    advice from you?

11           A.    Yes, it did.

12           Q.    And your answer is it was requesting

13    legal advice, the note?

14           A.    Yes.

15
           REDACTED
16                 Did the Department of Justice rely on

17    that note in drafting its request to the Census

18    Bureau to include a citizenship question on the

19    census?

20                 MR. GARDNER:       Objection.       Vague.

21                 THE WITNESS:       The note contained

22    information regarding that issue that was




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 124 of 530



                                                               Page 124

1     considered by the Department of Justice in

2     drafting its request.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 126 of 530



                                                               Page 126

1    REDACTED
2            Q.    This is marked as Exhibit 11.              This is an    802

3     e-mail to you -- from you to Mr. Herren -- Chris

4     Herren, sorry -- dated November 1st, 2017, with a

5     cc to Ben Aguinaga, correct?

6            A.    That is correct.

7            Q.    Chris Herren is the chief of the voting

8     section, correct?

9            A.    Yes.    And a great lawyer.

10           Q.    The subject line of your e-mail is,

11    Confidential and closehold draft letter, correct?

12           A.    That's correct.

13           Q.    And in your e-mail to Mr. Herren you say

14    that the draft letter is attached, correct?

15           A.    Correct.

16           Q.    Did you write the draft letter that is

17    attached to this e-mail?

18           A.    Yes, I did.

19           Q.    The draft letter that is attached to this

20    e-mail is an early draft of the December 12th

21    letter from the Department of Justice to the

22    Census Bureau requesting a citizenship question on




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 127 of 530



                                                               Page 127
                                                                            802
1     the 2020 census questionnaire, correct?

2            A.    Correct.

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12           Q.    Is it fair to say that you wrote the

13    first draft of the letter from the Department of

14    Justice to the Census Bureau requesting a

15    citizenship question on the 2020 census

16    questionnaire?

17           A.    Yes.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 128 of 530



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7            Q.    Did you have any conversations with

8     Mr. Herren about the citizenship question before

9     you sent this letter to him?

10           A.    Yes.

11           Q.    How many conversations did you have with

12    Mr. Herren before you sent the draft of the letter

13    to him?

14           A.    I don't recall exactly.            It would have

15    been a few.

16           Q.    More than one?

17           A.    Yes.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 129 of 530



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18                 What do you mean by confidential and

19    closehold?

20           A.    I meant that Mr. Herren should review the

21    letter and this was not for broad dissemination,

22    as it represented a draft.             And I had asked him to




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 130 of 530



                                                               Page 130

1     take a look at it.

2            Q.    When you say confidential and closehold,

3     does that mean that Mr. Herren was not permitted

4     to share the draft letter with anyone?

5            A.    No.    It meant that if he was interested

6     in sharing the draft letter with someone, he could

7     ask me if he was allowed to do that.

8            Q.    So your understanding was that Mr. Herren

9     should ask you before sharing any drafts of the

10    letter with anyone?

11           A.    I believe my understanding was that he

12    should communicate with me if he wanted to share

13    this particular draft with anyone.

14           Q.    Did Mr. Herren ever communicate with you

15    that he wanted to share the draft letter with

16    anyone?

17           A.    I can't recall.

18           Q.    Do you know whether or not Mr. Herren

19    shared this draft letter with anyone?

20           A.    I don't.



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17           Q.    Did you not want it to become public

18    information that the Department of Justice at this

19    point was drafting a letter to request a

20    citizenship question on the 2020 census

21    questionnaire?

22                 MR. GARDNER:       Objection to form.




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 132 of 530



                                                               Page 132

1                  THE WITNESS:       I never want any of our

2     drafts to become public information unless

3     required by legal process because I believe that

4     the Department of Justice should facilitate robust

5     and open conversation and deliberations at all

6     level before a decision is made.

7     BY MR. HO:

8            Q.    I didn't ask if you wanted the draft to

9     not become public.          I just asked if you wanted the

10    fact that the Department of Justice was drafting a

11    letter to request a citizenship question on the

12    2020 census questionnaire, if you wanted that fact

13    to remain non-public at this time.

14           A.    I would have preferred that that fact

15    remain non-public because the final letter hadn't

16    been issued and no final decision had yet been

17    made about it.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 133 of 530



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9            Q.    Did you authorize Mr. Aguinaga to send

10    the draft letter that you had sent to Mr.                   -Herren

11    to forward that to Bethany Pickett?

12           A.    Yes.

13           Q.    Now, at the time, Mr. Aguinaga and

14    Ms. Pickett both worked with you in the front

15    office of the civil rights division, correct?

16           A.    That's correct.

17           Q.    Both of them were political hires rather

18    than career staff, correct?

19           A.    Correct.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 134 of 530



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9            Q.    Both of them graduated from law school in

10    2015 or more recently, correct?

11           A.    Sounds about right.

12

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20           Q.    You're not aware of any experience that

21    Mr. Aguinaga or Ms. Pickett had as counsel in

22    Voting Rights Act cases prior to them coming to




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 135 of 530



                                                               Page 135

1     the civil rights division, correct?

2            A.    That's correct.

3            Q.    You're not aware of any experience that

4     either Mr. Aguinaga or Ms. Pickett had assessing

5     the reliability of CVAP data for purposes of VRA

6     enforcement, correct?

7            A.    That's correct.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 136 of 530



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21           Q.    Other than Ms. Pickett, Mr. Aguinaga, and

22    Mr. Herren, did you solicit input on the draft




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 137 of 530



                                                               Page 137

1     letter from anyone else within the civil rights

2     division?

3            A.    Not that I can recall.

4            Q.    Other than Ms. Pickett, Mr. Aguinaga, and

5     Mr. Herren, did you receive input on the draft

6     letter from anyone else within the civil rights

7     division?

8            A.    Not that I can recall.

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12                 (Gore Deposition Exhibit 14 marked for

13                 identification and attached to the

14                 transcript.)

15    BY MR. HO:

16           Q.    I show you a document that's been marked

17    as Exhibit 14.         It's an e-mail exchange between

18    you, Robert Troester, T-r-o-e-s-t-e-r, and

19    Rachael, spelled R-a-c-h-a-e-l, Tucker.

20                 The top e-mail on the thread is

21    November 30th, 2017.            This was produced to us in

22    discovery.       The electronic version has DOJ 14798




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 139 of 530



                                                               Page 139
                                                                            802
1     on it, although the hard copy doesn't have that

2     Bates number.

3                  It we look at the bottom of this page,

4     the first e-mail on this thread is from you to

5     Ms. Tucker and Mr. Troester on November 27th,

6     2017, correct?

7            A.    That's correct.        Except that he

8     pronounces his last name Troester.

9

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16           Q.    Now, at this time, Ms. Tucker was counsel

17    in the front office of the attorney general,

18    correct?

19           A.    That's correct.

20           Q.    And Mr. Troester was associate deputy

21    attorney general, correct?

22           A.    That's my understanding, yes.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 140 of 530



                                                               Page 140

1            Q.    Okay.     Now, neither Ms. Tucker nor

2     Ms. [sic] Troester, as far as you're aware, had

3     any experience as counsel in Voting Rights Act

4     cases, correct?

5            A.    Mr. Troester -- yes.          That's correct.

6            Q.    What about Ms. Tucker?

7            A.    Also correct.        You called him

8     Ms. Troester, so -- sorry.

9            Q.    Thank you.

10           A.    But, yes, I was not aware that either had

11    any enforcement responsibility or experience with

12    respect to the Voting Rights Act.

13           Q.    And as far as you're aware, neither of

14    them had any experience assessing the reliability

15    of CVAP data used in Voting Rights Act litigation,

16    correct?

17           A.    Correct.

18           Q.    Ms. Tucker and Mr. Troester were both

19    political appointees in the Department of Justice

20    at this time, correct?

21           A.    That's correct for Ms. Tucker.              I believe

22    Mr. Troester was a career employee on detail to




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 141 of 530



                                                               Page 141

1     the office of deputy attorney general and had

2     served a long career in the Department of Justice

3     as an assistant United States attorney, and maybe

4     even more than once as the acting United States

5     attorney in his home state of Oklahoma.

6            Q.    In your e-mail to them on November 27th,

7     you wrote, "Attached please find the near final

8     draft of the letter to census on the citizenship

9     issue we discussed a couple of weeks ago."

10                 So you had discussed the citizenship

11    issue with Ms. Tucker and Mr. Troester a few weeks

12    before the date of this e-mail, November 27th,

13    2017, correct?

14           A.    Correct.

15

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22                 At the time, Ms. Tucker was responsible
                                                                            Non-
                                                                            Responsive




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 142 of 530



                                                               Page 142

1     for the civil rights division portfolio in the

2     Office of Attorney General and Mr. Troester was

3     responsible for the civil rights division

4     portfolio in the Office of the Deputy Attorney

5     General.      So I had many conversations with them

6     over time about issues related to the civil rights

7     division.

8

9

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      REDACTED
11           Q.    So fair to say that on November 27th,

12    2017, a decision had already been made to request

13    a citizenship question on the census?

14           A.    No, I don't think that's fair to say.

15           Q.    Okay.     Ms. Tucker and Mr. Troester both

16    offered you edits to the letter, correct?

17           A.    I believe that's correct.

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                                                               Page 145

1                  (Gore Deposition Exhibit 16 marked for                   802

2                  identification and attached to the

3                  transcript.)

4     BY MR. HO:

5            Q.    Exhibit 16 is what I'm handing to you

6     now.     Another e-mail chain between you and

7     Mr. Gary.       The top e-mail on the thread is dated

8     December 8th, 2017.          The subject line of this is,

9     Request for citizenship information.December 8

10    red-line edits, 002.           Is that right?

11           A.    Appears to be right, yeah.

12

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 146 of 530



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7            Q.    Is there anyone that you can think of who

8     was giving you edits in the last few days before

9     this letter was sent from any of those offices

10    other than Ms. Tucker and Mr. Troester?

11           A.    Not that I can specifically recall.

12

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22           Q.    You write, "With these changes, we are                   802




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 147 of 530



                                                               Page 147

1     authorized to send.          Sending on Monday is fine."              802

2                  Did I read that correctly?

3            A.    That's correct.

4

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21           Q.    When you say, "With these changes we are

22    authorized to send," on December 8th, 2017, when




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 148 of 530



                                                               Page 148

1     you wrote that, a decision had been made as of

2     December 8th, 2017, to send the citizenship

3     question -- the request for the citizenship

4     question as long as it had these changes, correct?

5

6

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     REDACTED
9            Q.    So as soon as you made those changes to

10    that letter, you had authorization to send that

11    letter, correct?

12           A.    I believe we might have had authorization

13    to send, but it would have been my practice to

14    check in one last time before the letter was sent.

15           Q.    Okay.     You didn't have reason to believe

16    that you weren't authorized to send the letter

17    once you had made those changes as of

18    December 8th, 2017, right, Mr. Gore?

19           A.    I don't recall what I thought or didn't

20    think on December 8th of 2017.

21           Q.    Okay.     You didn't say in this e-mail to

22    Mr. Gary that you were going to check in again




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                                                               Page 149

1     after you made these changes, did you?

2                  MR. GARDNER:       Objection.

3     Mischaracterizes the document.

4                  THE WITNESS:       I did not use those words

5     in that e-mail.

6    REDACTED
7            Q.    You didn't tell Mr. Gary in this e-mail

8     that, after these changes were made, you would

9     have to check in with leadership one more time

10    before sending it, right?

11           A.    Again, I did not use those words in that
                                                         Non-
                                                         Responsive;
12    e-mail, but that's standard practice, certainly my 602

13    standard practice, and I believe the standard

14    practice of others at the Department of Justice.

15           Q.    You sent this e-mail on Friday,

16    December 8th, which means Monday would have been

17    Monday, December 11th, correct?

18           A.    That's correct.

19

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 150 of 530



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4            Q.    So just so I understand the process here,

5     you had -- you first had communications about the

6     issue of a citizenship question sometime around

7     Labor Day of 2017, correct?

8            A.    Give or take, yes, that's correct.

9            Q.    You drafted the initial draft of the

10    letter to request the citizenship question

11    sometime around the end of October or early

12    November of 2017, correct?

13           A.    Correct.

14           Q.    The conversations to add the citizenship

15    question with the Department of Commerce were not

16    initiated by the civil rights division, correct?

17           A.    Correct.

18           Q.    And they were not initiated by the

19    Department of Justice, correct?

20           A.    That's my working understanding.

21

22   REDACTED

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21           Q.    Okay.     Around November 1st of 2017, the

22    only career staff in the civil rights division




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                                                                Page 152

1     from whom you received input on the letter was

2     from Mr. Herren, correct?

3            A.    That's correct.

4          REDACTED
5     of 2017 when you had drafted the initial draft of

6     that letter, Mr. Herren gave you some edits,

7     correct?

8            A.    That's correct.

9

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             Q.    So you have no recollection of receiving

13    input from career civil rights division staff on

14    the letter requesting a citizenship question other

15    than that one occasion in early November around

16    the time of the first draft from Mr. Herren,

17    correct?

18           A.    I believe that's correct.            Yeah.

19           Q.    You continued to revise the letter after

20    early November of 2017 with input from different

21    people.      But after that first round of edits from

22    Mr. Herren, you received no subsequent edits from




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 153 of 530



                                                               Page 153

1     people who were career staff in the civil rights

2     division, correct?

3                  MR. GARDNER:       Objection.       Compound.

4                  THE WITNESS:       To the extent I understand

5     your question, I believe that's correct.

6     BY MR. HO:

7            Q.    During this period when you were revising

8     the letter to request a citizenship question, you

9     had multiple conversations with legal staff at the

10    Department of Commerce, correct?

11           A.    Yes.

12           Q.    And the edits that you were receiving to

13    the letter from other DOJ personnel included

14    political appointees in the front office of the

15    Department of Justice and in the front office of

16    the civil rights division, correct?

17           A.    I -- certainly that's correct with

18    respect to the leadership offices at the

19    Department of Justice.            I can't remember if I was

20    receiving edits from the front office of the civil

21    rights division at that time after receiving the

22    edits from Ms. Pickett.




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                                                               Page 154

1            Q.    Who made the final decision to send the

2     letter requesting the citizenship question be

3     added to the 2020 census questionnaire?

4            A.    I'm not sure I know.          And I can't recall

5     who communicated the final decision to me.

6

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11           Q.    Who gave the final signoff to put that

12    letter in the mail?

13                 MR. GARDNER:       Objection.       Asked and

14    answered.

15                 THE WITNESS:       I don't recall who gave the

16    final signoff.

17    BY MR. HO:

18           Q.    Was it you?

19           A.    No, I don't believe I would have given

20    the final signoff.          But maybe.       I guess it depends

21    on what you're asking.            Like, who told Art Gary he

22    could press "send" on the e-mail?                I don't




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 155 of 530



                                                               Page 155

1     understand your question.

2            Q.    Yes, that's my question.

3            A.    I don't know.

4            Q.    You don't know whether or not you did?

5            A.    I don't recall whether it was me or

6     somebody else.

7            Q.    All right.

8            A.    It's possible it could have been me.

9

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13           Q.    I'm going to show you what's been marked

14    as Exhibit 17.         This is a document in the

15    administrative record, the first page of which has

16    the number 000663.          This is a letter stamped

17    December 12th, 2017, from Arthur Gary at the

18    Department of Justice addressed to Ron Jarmin at

19    the Census Bureau, correct?

20           A.    Yes.    It appears to be.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 156 of 530



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12            Q.   And on either Monday, December 11th or

13    Tuesday, December 12th, when you checked in with

14    them, did either Ms. Tucker or Mr. Troester give

15    you authorization to send the letter out?

16                 MR. GARDNER:       Objection.       Compound.

17                 THE WITNESS:       I believe one of them must

18    have, because the letter went out around that

19    time.

20   REDACTED
21            Q.   So -- but your best memory is that you

22    received final authorization to send the letter




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 159 of 530



                                                               Page 159

1     from either Ms. Tucker or Mr. Troester, correct?

2            A.    Correct.

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18           Q.    You said that you -- you testified that

19    you had spoken with either Ms. Tucker or

20    Mr. Troester on either Monday or Tuesday, December

21    11th or December 12th.

22                 So it was when you had a conversation




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 160 of 530



                                                                Page 160

1     with them, with one of them, on either the 11th or

2     the 12th, that you received final authorization

3     for the letter to go out, correct?

4            A.    I believe that's correct.

5            Q.    So one of them, either Ms. Tucker or

6     Mr. Troester, gave final authorization to send the

7     letter, and it was either on December 11th or on

8     December 12th, correct?

9            A.    I would say that one of them communicated

10    final authorization on one of those dates, and I

11    imagine it was the 12th, since that's the date the

12    letter went out.

13           Q.    If one of them, as you say, communicated

14    final authorization, where did that final

15    authorization come from?

16                 MR. GARDNER:       Objection.       Vague.

17                 THE WITNESS:       I believe it would have

18    come from the attorney general.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 161 of 530



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13           Q.    So the first -- reading the first page

14    doesn't refresh your recollection as to whether or

15    not this is the letter?

16           A.    It appears to be the letter.

17           Q.    Okay.     The letter signed by Mr. Gary

18    represents the Department of Justice's final

19    decision and statement of position with respect to

20    the issue of the citizenship question on the

21    census, correct?

22           A.    Yes.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 162 of 530



                                                               Page 162

1            Q.    And this letter represents the views of

2     the Department of Justice, connect?

3            A.    Correct.

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19    BY MR. HO:

20           Q.    Mr. Gore, can you look at what we marked                      802

21    earlier as Exhibit 12 -- I'm sorry, Exhibit 2.                        It

22    was your testimony in Congress.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 163 of 530



                                                               Page 163
                                                                            802
1            A.    Uh-huh.

2            Q.    Please turn to page 23.

3            A.    Sure.

4            Q.    Sorry.     I think I meant page 24.            Oh, no,

5     no.    I'm sorry.       I had it right.         Page 23.

6                  The fourth paragraph down here, there's a

7     question from Member Lynch:              "This is Attorney

8     General Sessions you're talking about."

9                  Your answer is, "It represents the view

10    of the department, so I believe the attorney

11    general agrees with that view.               Yes."

12                 That was your testimony in Congress,

13    correct?

14           A.    Yes.

15           Q.    And you gave truthful testimony that day,

16    correct?

17           A.    I did.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 164 of 530



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5            Q.    Are there any -- just to be clear, there

6     are no reasons that you're aware of that the

7     Department of Justice wants a citizenship question

8     on the 2020 census that are not reflected in this

9     letter, correct?

10           A.    That's correct.        I'm aware of no such

11    reasons.

12           Q.    This letter is addressed to Dr. Ron

13    Jarmin, correct?

14           A.    Yes, it is.

15           Q.    And Dr. Jarmin is the acting director of

16    the Census Bureau, correct?

17           A.    That's my understanding.            Yes.

18

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 165 of 530



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17           Q.    Who do you think knows more about the

18    accuracy of various forms of CVAP data, Dr. Jarmin

19    or you?

20                 MR. GARDNER:       Objection.       Calls for

21    speculation.        Lack of foundation.

22                 THE WITNESS:       I have no idea.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 166 of 530



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14           Q.    Do you think that you know more about the

15    accuracy of various forms of CVAP data than the

16    professionals at the Census Bureau?

17                 MR. GARDNER:       Objection.       Calls for

18    speculation.        Lack of foundation.

19                 THE WITNESS:       Again, I don't know what

20    the professionals at the Census Bureau know or

21    don't know.

22




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 167 of 530



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14           Q.    Do you have any background in statistics,

15    Mr. Gore?

16           A.    No.

17           Q.    No graduate degree in survey -- I'm

18    sorry, in anything quantitative?

19           A.    No.

20

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22    REDACTED
            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 168 of 530



                                                               Page 168

1            Q.    Any experience assessing the statistical

2     validity of survey data?

3            A.    No.

4            Q.    You know that people in the Census Bureau

5     do have a lot of experience assessing the

6     statistical validity of survey data, right?

7            A.    I imagine that there are people in the

8     Census Bureau who have that expertise and

9     experience.        I don't know whether Dr. Jarmin or

10    anyone else in particular does.               And I couldn't

11    identify anyone at the Census Bureau who has that

12    expertise.

13           Q.    But you would expect that there are

14    people in the Census Bureau with expertise in

15    assessing the validity of various forms of survey

16    data, wouldn't you, Mr. Gore?

17           A.    I would certainly hope so.

18           Q.    And you don't have any such expertise,

19    right?

20           A.    That's correct.

21           Q.    Okay.     Prior to this letter, in the                   601

22    entire 53-year history of the Voting Rights Act,




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 169 of 530



                                                               Page 169

1     the Department of Justice had never requested a                       601

2     citizenship question on the decennial census

3     questionnaire that's sent to every household in

4     the United States, correct?

5                  MR. GARDNER:       Objection.       Lack of

6     foundation.

7                  THE WITNESS:       That is correct.         To my

8     knowledge.

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22                 It's the position of the Department of




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 170 of 530



                                                               Page 170

1     Justice that the decennial census questionnaire is

2     the most appropriate vehicle for collecting CVAP

3     data for purposes of VRA enforcement, correct?

4            A.    Yes.     And -- I think the letter speaks

5     for itself.         But yes, that's the position.

6            Q.    And the letter purports to establish why

7     the decennial census questionnaire is the most

8     appropriate vehicle for collecting CVAP data for

9     purposes of VRA enforcement, correct?

10           A.    Correct.

11           Q.    You testified in Congress that your

12    belief is that the decennial census questionnaire

13    is the most appropriate vehicle for collecting

14    CVAP data for purposes of VRA enforcement,

15    correct?

16           A.    I believe I did.         Yes.

17

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8                  To your understanding, is it accurate to

9     say the from the 1970 through the 2000 censuses,

10    the Census Bureau collected citizenship

11    information through the census long form?

12           A.    That's my understanding.

13           Q.    And the long form was not sent to every

14    household in the United States, correct?

15           A.    That's my understanding.

16           Q.    The long form was sent to a sample of

17    households in the United States, correct?

18           A.    That appears to be correct.

19

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 172 of 530



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3            Q.    So you agree with me that, if you take a

4     survey sample and you try to derive generalizable

5     data from that survey sample, that that

6     generalized data would be a statistical estimate,

7     correct?

8            A.    Sure.

9

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22           Q.    My question was, you understand that




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 174 of 530



                                                               Page 174

1     citizenship data derived from the long form would

2     be a statistical estimate, correct?

3            A.    I believe that to be correct.

4

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14           Q.    Okay.     So for years, the Department of

15    Justice relied on citizenship data collected

16    through the census long form for purposes of VRA

17    enforcement, correct?

18           A.    That's my understanding.            Yes.

19           Q.    And after the long form was discontinued,

20    the Department of Justice began relying on

21    citizenship data collected through the ACS for

22    purposes of VRA enforcement, correct?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 175 of 530



                                                               Page 175

1            A.    Correct.

2            Q.    And -- so it would be accurate to say

3     that even when there was a citizenship question on

4     the census long form, the Department of Justice,

5     when it was using citizenship data for purposes of

6     VRA enforcement, it was using data that were

7     statistical estimates based on a sample, correct?

8            A.    I believe that's correct, if I follow

9     your question.
                                                                            601
10           Q.    So it's accurate to say that the

11    Department of Justice, for as long as it's been

12    enforcing the Voting Rights Act, when it's needed

13    citizenship data, it has always relied on

14    statistical estimates rather than hard count data,

15    correct?

16                 MR. GARDNER:       Objection.       Lack of

17    foundation.

18                 THE WITNESS:       To the best of my

19    knowledge, I think that's correct.

20    BY MR. HO:

21           Q.    You're not aware of any period of time in

22    which the Department of Justice had access to hard




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 176 of 530



                                                               Page 176

1     count citizenship data for purposes of VRA

2     enforcement, are you, Mr. Gore?

3            A.    I'm not aware of that, no.

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8            Q.    And you're aware that the Census Bureau

9     produces different estimates based on the ACS in

10    the form of one-year ACS estimates and five-year

11    ACS estimates, right, Mr. Gore?

12           A.    That's correct.        I think they have

13    three-year ACS estimates as well.

14

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21           Q.    One-year ACS estimates are statistical

22    estimates based on a single year of ACS survey




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 177 of 530



                                                               Page 177

1     responses, correct?

2            A.    That's my understanding.

3            Q.    And five-year ACS estimates are

4     statistical estimates that are based on ACS

5     responses that are aggregated from a consecutive

6     five-year period, correct?

7            A.    It's my understanding.             Yes.

8            Q.    As of the date of the Gary letter, you

9     understood the difference between one-year and

10    five-year ACS estimates, right?

11           A.    Yes.



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14                 The Census Bureau intends that ACS

15    one-year estimates be used for areas with a

16    population larger than 65,000, right?

17           A.    I think that's right.

18

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                                                               Page 178

1                  (Gore Deposition Exhibit 18 marked for

2                  identification and attached to the

3                  transcript.)

4     BY MR. HO:

5            Q.    It's a screenshot from the Census Bureau

6     website entitled, American Community Survey (ACS):

7     When to use one-year, three-year, or five-year

8     estimates.

9                  Do you see this table titled,

10    Distinguishing features of ACS one-year, one-year

11    supplemental, three-year, and five-year estimates,

12    Mr. Gore?

13           A.    I do, yes.

14           Q.    And the far left-hand column has

15    information about one-year estimates, correct?

16           A.    Correct.

17           Q.    And do you see in the third row of that

18    table, second depending on whether you include the

19    header, that the Census Bureau states that

20    one-year estimates are data for areas with

21    populations of 65,000-plus?

22           A.    Yes, I see that.




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 179 of 530



                                                               Page 179

1            Q.    So that comports with your understanding,

2     right, that one-year ACS estimates are intended

3     for use only in areas with a population larger

4     than 65,000, correct?

5            A.    Yes, that's correct.

6            Q.    And did you understand that one-year ACS

7     estimates were intended for use in areas with a

8     population over 65,000 as of the date of the Gary

9     letter?

10           A.    Yes.

11           Q.    The far right-hand column of the table

12    has information on five-year ACS estimates.                    Do

13    you see that?

14           A.    Yes, I do.

15           Q.    And you see where the Census Bureau

16    indicates that five-year ACS estimates have the

17    largest sample size of different ACS estimates?

18           A.    I do see that on this chart.              Yes.

19           Q.    You don't have any reason to doubt that,

20    right?

21           A.    No.

22           Q.    Okay.     And you see where on the chart it




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 180 of 530



                                                               Page 180

1     states -- the Census Bureau states that five-year

2     ACS estimates are data for all areas, correct?

3            A.    Yeah, I do see that.

4            Q.    As of the date of the Gary letter on

5     December 12th, 2017, were you aware that the

6     Census Bureau considers five-year ACS estimates to

7     be usable data for all geographic areas regardless

8     of population size?

9            A.    Yes.

10

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15                 In the sentence when the letter refers to

16    "such purposes," that means for purposes of VRA

17    enforcement, correct?

18           A.    It refers to that and other purposes.

19           Q.    Okay.     What other purposes?

20           A.    It also refers to use by state and local

21    jurisdictions in drawing our redistricting plans.

22           Q.    Redistricting plans for purposes of




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 181 of 530



                                                               Page 181

1     compliance with the Voting Rights Act, correct?

2            A.    Yes, with the Voting Rights Act, and with

3     other federal and state law requirements.

4            Q.    Why would you need ACS citizenship data

5     to draw districts to comply with other federal and

6     state legal requirements other than Section 2 of

7     the Voting Rights Act?

8            A.    Section 2 would be predominant.               I don't

9     know every state law requirement that might be

10    implicated by that.          There might be state law

11    requirements that require a reference to

12    citizenship data.          Currently, to my knowledge,

13    every state in the union uses total population to

14    achieve compliance with the equal protection

15    clause's one-person/one-vote mandate.                  But I

16    believe that in the past there have been

17    jurisdictions that have used other measures.                    And

18    whether a jurisdiction might choose to use that

19    measure, I don't know -- measure of citizenship as

20    opposed to something else.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 182 of 530



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7                  When the letter says that ACS data does

8     not yield ideal data for such purposes, the

9     predominant purpose that you're referring to there

10    for which the ACS is not ideal is Section 2

11    compliance, correct?

12           A.    I think the predominant purpose to which

13    the letter is referring is Section 2 compliance.

14    That's correct.

15           Q.    Okay.     After the letter has that

16    statement, there are four bullet points, correct?

17           A.    That is correct.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 183 of 530



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11           Q.    Okay.     So tell me if I have this right.

12    The point that's being expressed in this bullet is

13    that citizenship data from the ACS is not ideal

14    for purposes of Section 2 compliance and

15    enforcement because ACS citizenship data is a

16    different data set that's separate and apart from

17    the total population data derived from the

18    decennial census; is that right?

19           A.    I believe the point speaks for itself,

20    and I think the way you've described it is more or

21    less correct.

22           Q.    Okay.     Any ways in which the way I just




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 184 of 530



                                                               Page 184

1     described it strike you as incorrect?

2            A.    Not as I sit here right now, no.

3

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13           Q.    Now, how does the fact that the decennial

14    enumeration data is in one data set, the PL data

15    file, whereas the ACS citizenship data is in a

16    different data set, the CVAP table -- how does the

17    fact that they're in two different data sets

18    render the ACS not ideal data for purposes of

19    Section 2 enforcement?

20           A.    Particularly for a map drawer, if -- a                   601, 602,
                                                                            802, Improper
21    map drawer drawing a map in Maptitude or some                         Expert
                                                                            Testimony
22    other software needs to have both of these forms                      under 702




            REDACTED
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                                                               Page 185

1     of information in order to draw districts that

2     comply with the 14th Amendment and with Section 2.

3     And map drawers currently have to go to two

4     different data sets and try to match up those data

5     sets in geography and specificity to the block

6     level in order to perform that function.

7                  If all of the data were available in the

8     PL94-171 data set, they wouldn't have to do that.

9     And experts engaged in redistricting litigation,

10    including analyzing alleged violations of

11    Section 2 and proposed remedial plans for proven

12    violations of Section 2, could use a single

13    data set to draw maps and otherwise to analyze

14    Section 2 claims.
                                                                            601
15           Q.    If the Census Bureau could produce

16    citizenship data as part of the PL data file

17    without including a citizenship question on the

18    census, would that resolve the concern that's

19    expressed in this bullet point?

20                 MR. GARDNER:       Objection.       Calls for a

21    hypothetical.

22                 THE WITNESS:       Yeah, again, that's




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 186 of 530



                                                               Page 186

1     hypothetical.        I don't know they can do that                    601

2     either as a matter of law or technical capacity.

3     And I think -- so I don't know the answer to that

4     question.

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7             Q.   You don't know whether or not you'd be

8     interested in a proposal from the Census Bureau to

9     give you CVAP data as part of the PL data file

10    without including a citizenship question on the

11    census?

12                 MR. GARDNER:       Same objection.

13                 THE WITNESS:       Again, you're asking me a

14    hypothetical without fleshing out all the facts

15    and circumstances, so I can't tell you how anyone,

16    the department or anyone else, would respond to

17    that.

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9            Q.    Okay.     So you're not aware of any time

10    where the Department of Justice, in enforcing the

11    Voting Rights Act, had a single data set which had

12    total population data and citizenship data in it,

13    right, Mr. Gore?

14           A.    I'm not aware one way or the other.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 189 of 530



                                                               Page 189

1            Q.    But you're not saying that -- this letter

2     is not saying that there was a prior point in time

3     in which the Department of Justice had both total

4     population and citizenship data in a single data

5     set, correct?

6            A.    I think the letter speaks for itself, and

7     this particular bullet doesn't say that.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 190 of 530



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11           Q.    So the cases that DOJ has filed, you're

12    not aware of any of those cases being unsuccessful

13    because citizenship data and total population data

14    were in two different data sets, correct?

15           A.    That's correct.        Again, we're not talking

16    about cases that weren't filed.               And, obviously,

17    any case that was filed was a case that the

18    Department of Justice believed it could win.

19           Q.    Okay.     You're not aware of any case filed

20    by any plaintiff anywhere under the Voting Rights

21    Act where the claim failed because of the fact

22    that total population data and citizenship data




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 191 of 530



                                                               Page 191

1     were in two different data sets, correct?

2            A.    Again, that's correct with respect to

3     cases that were actually filed.               And we're not

4     talking about cases that weren't filed.

5            Q.    You're not aware of a case -- and I'm not

6     even going to talk about the Department of

7     Justice -- where people have talked about filing a

8     case publicly, but said, you know what, we're just

9     not going to file this case because population

10    data and citizenship data, they're in two

11    different data sets, right?

12                 MR. GARDNER:       Objection to form.

13                 THE WITNESS:       I believe that's right, as

14    I understand your question.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 192 of 530



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6            Q.    The point that's being expressed --

7     correct me if I'm wrong -- in this bullet is that

8     citizenship data from the ACS is not ideal for VRA

9     enforcement purposes because ACS citizenship data

10    purportedly does not align in time with the

11    decennial census data, correct?

12           A.    That's correct.

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18           Q.    What does the department mean?

19           A.    I believe what the department means is --

20    it dovetails with the conversation we had just a

21    moment ago about what the ACS data are.

22                 So the ACS data are -- at least for the




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 193 of 530



                                                               Page 193

1     five-year estimates, are rolling.                So they

2     represent some estimate over five consecutive

3     years.     And the one-year estimate is a snapshot of

4     one single year.

5                  Now, the citizenship data from the

6     decennial census is a recording of data at that
                                                                            602,
7     point in time, and the ACS data doesn't always                        Improper
                                                                            Expert
8     align with that particular point in time.                   So you    Testimony
                                                                            under 702
9     may be measuring citizenship data from, if you're

10    using a five-year estimate, four or five years

11    before the census or four or five years after the

12    census.      And jurisdictions use the total

13    population data in the census, and courts use that

14    as well, throughout the entire decade.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 194 of 530



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6            Q.    Are you aware of a filed case by the

7     Department of Justice under the Voting Rights Act

8     where the department was unable to succeed on a

9     VRA claim because of the fact that ACS citizenship

10    data does not align in time with the decennial

11    census data?

12           A.    I am not aware of any such filed case.

13           Q.    Okay.     Are you aware of any case filed by

14    any plaintiff anywhere where the court found

15    that -- against the plaintiffs because the ACS

16    data does not align in time with the decennial

17    census?

18           A.    I am not aware of any such filed case.

19           Q.    Are you aware of any plaintiff ever

20    declining to file a case because ACS data -- and

21    I'm not talking about the department, not filed

22    cases, because I understand that that's




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 195 of 530



                                                               Page 195

1     privileged.

2                  But just based on your knowledge as

3     someone who's knowledgeable about the Voting

4     Rights Act, are you aware of any case where any

5     plaintiff outside of DOJ did not bring a case

6     under Section 2 of the Voting Rights Act because

7     ACS data does not align in time with the decennial

8     census?

9            A.    I'm not aware of that, and certainly not

10    aware of it from any public information.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 196 of 530



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4                  Okay.     When the letter says, "margin of

5     error," what do you understand that to mean?

6            A.    Because the ACS estimates are estimates,

7     and not a hard count, there's an associated margin

8     in which -- that the Census Bureau assigns a

9     value, usually a percentage, that the Census

10    Bureau assigns to convey that, from a matter of

11    statistics, it has confidence that the true result

12    is somewhere within that range.               And that's

13    referred to as the margin of error.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 197 of 530



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5            Q.    And you'd agree with me that estimates

6     with a smaller margin of error are more precise

7     than an estimate with a bigger margin of error,

8     right?

9            A.    Yes.

10           Q.    Now, the point that's being expressed in

11    this bullet is that citizenship data from the ACS

12    is not ideal for purposes of VRA enforcement

13    because ACS citizenship data has a margin of error

14    that increases as you get to smaller and smaller

15    geographic units, correct?

16           A.    That's correct.

17           Q.    Okay.     And the letter contrasts those ACS

18    estimates with those margins of error with

19    decennial census data, which are a full count of

20    the population, right?

21           A.    That's correct.

22           Q.    You're aware that decennial census data




            REDACTED
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                                                               Page 198

1     that's published at the block level also has a

2     margin of error associated with it; it's just not

3     published by the Census Bureau, right?

4            A.    I'm aware of that.          Yes.

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12           Q.    But as of the date of the Gary letter,

13    you knew that even what is referred to in the Gary

14    letter as full count data has margins of error

15    associated with it, too, correct?

16           A.    Yes.

17           Q.    Okay.     The Gary letter doesn't mention

18    that full count data from the decennial census has

19    margins of error, does it?

20           A.    It doesn't appear to, no.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 199 of 530



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14           Q.    Okay.     So let's try that again.            The ACS

15    data are described in this bullet as having a

16    margin of error, correct?

17           A.    That's correct.

18           Q.    And the letter reads, "By contrast,

19    decennial census data is a full count of the

20    population," correct?

21           A.    That's correct.

22           Q.    And the bullet does not mention that




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 201 of 530



                                                               Page 201

1     decennial census data have margins of error

2     associated with them, correct?

3            A.    That's correct, as I've already

4     testified.

5            Q.    Okay.     Now, when citizenship data was

6     derived from the long form questionnaire, that was

7     data that also had a margin of error associated

8     with it, correct?

9            A.    I would imagine that's correct.

10           Q.    Okay.     So you'd agree that, as far as you

11    know, the Department of Justice, when it's relied

12    on citizenship data, that citizenship data has

13    always had a margin of error associated with it,

14    correct?

15           A.    That's my understanding.

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13           Q.    And the letter doesn't mention the fact

14    that citizenship data collected from the long form

15    questionnaire and reported from the long form

16    questionnaire were, like the ACS, also statistical

17    estimates that had margins of error, correct?

18           A.    I think that's correct with respect to

19    reported from the long form questionnaire.                   I

20    don't know if that's correct with respect to

21    collected by the long form questionnaire because I

22    don't know if the Census Bureau engaged in




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 203 of 530



                                                               Page 203

1     statistical estimates when it was actually

2     collecting the responses to the long form

3     questionnaire.

4            Q.    Thank you.

5                  The letter doesn't mention that the

6     Department of Justice has always relied on

7     statistical estimates of citizenship with margins

8     of error for purposes of VRA enforcement, does it?

9            A.    I believe that's correct.            Again, the

10    letter speaks for itself.

11           Q.    Okay.     You're not aware of a single filed

12    case by the Department of Justice where the

13    Department of Justice was unable to succeed on a

14    VRA claim because of the fact that the CVAP data

15    on which DOJ was relying was a statistical

16    estimate with a margin of error that increases as

17    the geographic area decreases, correct?

18           A.    I am not aware of any such filed case.

19           Q.    You're not aware of any case where a

20    plaintiff was unable to succeed on a VRA claim

21    because of the fact the five-year ACS citizenship

22    data have a margin of error associated with them,




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 204 of 530



                                                               Page 204

1     correct?

2            A.    Five-year estimates?          That's correct.

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      REDACTED     You're not aware of any case where

7     plaintiffs declined to bring a VRA claim because

8     ACS data are statistical estimates with a margin

9     of error, correct?

10           A.    That is correct.         I am aware of one case

11    in which a court held that the one-year ACS

12    estimate, because of its associated margin of

13    error, was insufficiently reliable to allow the

14    plaintiff in that case to proceed with a Section 2

15    claim.

16           Q.    Right.     That's the Benavidez case, right?

17           A.    That is correct.

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15                 THE WITNESS:       The position of the                   Non-
                                                                            Responsive
16    Department of Justice is that we want to have the

17    most complete, accurate, reliable data we can

18    possibly have.

19                 We have the ACS data.           We have been

20    bringing cases using the ACS data.                We believe

21    that having a hard count citizenship data from the

22    census questionnaire would give us another




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 207 of 530



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1     data point that we could use to identify

2     jurisdictions for potential Section 2

3     investigations and enforcement.

4                  I don't believe it's disputed by anybody

5     that a litigant, any plaintiff, the Department of

6     Justice or a private plaintiff, needs block-level

7     data in order to bring Section 2 redistricting

8     claims -- now, whether that's derived from the ACS

9     or from some other source -- because when

10    jurisdictions draw districts to achieve equal

11    population, they use block-level data.

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21           Q.    Right.     So let's take this block of five              601

22    people.      Right?     If the block group that this was




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                                                               Page 210

1     in, the ACS reported 60 percent of the people in                      601

2     that block group are citizens, what you would do

3     right now is you take that 60 percent number and

4     then you apply it to the individual blocks.                    So

5     you would look at this group of five and you'd

6     say, well, our estimate is three of those five

7     people are citizens, correct?

8                  MR. GARDNER:       Objection.       Form.

9     Objection.       Hypothetical.

10                 THE WITNESS:       That would be one way to

11    estimate census block citizenship data from an ACS

12    estimate at the block group level.

13    BY MR. HO:

14           Q.    And what the Department of Justice is

15    saying is that we have these estimates, but we'd

16    also like a hard count, because if we had the

17    decennial census questionnaire out there and had

18    the citizenship question posed, we would know with

19    a hard count instead of an estimate -- instead of

20    only an estimate -- how many of those five people

21    are, in fact, citizens, correct?

22                 MR. GARDNER:       Objection.       Form.




            REDACTED
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                                                               Page 211

1                  THE WITNESS:       That's more or less

2     correct.      I believe we want to have the best, most

3     accurate and most complete data we can possibly

4     have.

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17           Q.    Okay.     Your expectation is that when you

18    requested a citizenship question on the census

19    questionnaire, that the Census Bureau was going to

20    include it, collect that information, and give it

21    to the Department of Justice on a block-by-block

22    level, correct?




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                                                               Page 214

1            A.    Yes.

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15           Q.    Okay.     What's your understanding of what

16    the Census Bureau is going to give you for this

17    census block of one person in terms of CVAP data

18    when the citizenship question is included on the

19    census?

20                 MR. GARDNER:       Objection.       Calls for a

21    hypothetical.

22                 THE WITNESS:       I have no understanding of




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 216 of 530



                                                               Page 216

1     what the Census Bureau is going to do or what data

2     it's going to provide us in the future related to

3     this request.

4     BY MR. HO:

5            Q.    You don't know one way or the other, is

6     what you're saying, whether or not, when the

7     Census Bureau gives you block-by-block CVAP data

8     derived from responses to the census

9     questionnaire, whether or not, with respect to a

10    block that has one person on it, that that

11    individual block-level CVAP data is going to

12    reflect that person's response to the citizenship

13    question on the census, correct?

14                 MR. GARDNER:       Objection.       Form.

15    Objection.       Hypothetical.

16                 THE WITNESS:       Again, that's hypothetical.

17    What I'm telling you is I don't know how the

18    Census Bureau planned to report the data that

19    we've requested.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 217 of 530



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13                 You want block-by-block data from the

14    Census Bureau.         That's what you've requested,

15    correct?

16           A.    That is correct.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 218 of 530



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7                  It's that when the Census Bureau gives                   601

8     you block-by-block citizenship data, as you've

9     requested, based on responses to the citizenship

10    questionnaire, right now, you don't know, if

11    you're looking at a block with one person on it,

12    whether or not that citizenship data that you get

13    from the Census Bureau is going to reflect the

14    response to the citizenship questionnaire,

15    correct?

16                 MR. GARDNER:       Same objections.

17                 THE WITNESS:       Of course I don't know

18    that, because I don't know what the data is going

19    to be.     And I don't know whether the person who

20    completes the census questionnaire is going to

21    complete it fully or something else.                 I have no

22    idea.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 220 of 530



                                                               Page 220

1    REDACTED
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3            A.    You're asking about something that might

4     happen in the future.           That's a hypothetical.            I

5     don't know.

6            Q.    Well, this is the data that the

7     Department of Justice has requested.                 You've

8     requested that the Census Bureau go block by

9     block and ask --

10           A.    That's correct.

11           Q.    -- people block by block, every member of

12    every household, how many people are citizens and

13    not, correct?

14           A.    That is correct.

15           Q.    And you expect that the CVAP table that

16    you get from the Census Bureau on a block-by-block

17    basis is going to reflect answers to those

18    citizenship questions, correct?

19           A.    That would be my expectation.              Yes.

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22    REDACTED
            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 221 of 530



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7            Q.    Well, Mr. Gore, it's not hypothetical.

8     You understand that there are census blocks with

9     one human on them, correct?

10           A.    I do understand that.           Yes.

11           Q.    Okay.     If the Census Bureau is going to

12    give you CVAP data for that block and tell you

13    whether or not that person is a citizen, you don't

14    know, sitting here today, whether or not that --

15    that data that the Census Bureau is going to give

16    you is going to reflect that person's answer to

17    the citizenship question on the census, correct?

18           A.    I don't know what that data is going to

19    reflect because, again, you're asking me about a

20    hypothetical.

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14           Q.    Sure.     Is it your understanding that,

15    when the Census Bureau reports CVAP data block by

16    block after the 2020 census, that, with respect to

17    blocks that have only one person on it, that the

18    CVAP data reported by the Census Bureau will

19    reflect the answer that that person gave to the

20    citizenship question on the census questionnaire?

21                 MR. GARDNER:       Objection.       Form.

22                 THE WITNESS:       My understanding is that




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                                                               Page 223

1     that would certainly be possible, just like it

2     would reflect information about that person's race

3     that they would have provided on the census

4     questionnaire.

5     BY MR. HO:

6            Q.    Now, you're aware that the Census Bureau                 601

7     intends to use techniques such as synthetic data

8     noise infusion to avoid the disclosure of people's

9     responses to the census questionnaire?

10                 MR. GARDNER:       Objection.       Lack of

11    foundation.

12                 THE WITNESS:       I'm aware that there are

13    some techniques.         I don't know that particular

14    technique.       I'm not familiar with it.

15    BY MR. HO:

16           Q.    So you've never heard the term "synthetic

17    data noise infusion" before?

18           A.    I believe I may have heard it.              I just

19    don't understand it.

20           Q.    You're not aware that synthetic noise

21    infusion is a practice whereby the Census Bureau

22    intends to replace some sensitive information




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 224 of 530



                                                               Page 224

1     about a census respondent with different

2     information based on sample data from a

3     statistical model when it publishes the data?

4            A.    I generally have that understanding.                 I

5     cannot perform that particular data manipulation

6     myself.

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16           Q.    Sure.     You're aware that, because of

17    disclosure avoidance procedures like synthetic

18    noise infusion, which we talked about a second

19    ago, that even with the citizenship question on

20    the 2020 census questionnaire, the CVAP data

21    produced by the Census Bureau at the block level

22    will have error margins associated with it,




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 225 of 530



                                                               Page 225

1     correct?

2            A.    I'm not aware of that because I don't

3     understand the causal relationship between those

4     masking techniques and any margin of error.

5     Moreover, I don't know what techniques the Census

6     Bureau plans to use or how it plans to deploy

7     those with respect to responses to the

8     2020 census.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 226 of 530



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1            Q.    But you're aware, are you not, that the

2     Census Bureau today does not know whether or not

3     the margins of error associated with the CVAP data

4     that it produces based on responses to the census

5     questionnaire will have margins of error that are

6     larger or smaller than the CVAP data currently

7     used by the Department of Justice?

8                  MR. GARDNER:       Objection.

9     BY MR. HO:

10           Q.    Right?

11                 MR. GARDNER:       Objection.       Lack of

12    foundation.

13                 THE WITNESS:       I am not aware of the

14    Census Bureau's view on that issue.

15    BY MR. HO:

16           Q.    Okay.     So you didn't try to determine,

17    before requesting a citizenship question on the

18    census questionnaire, whether or not CVAP data

19    derived from that citizenship question would, in

20    fact, have smaller margins of error than the CVAP

21    data currently relied on by the Department of

22    Justice, correct?




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                                                               Page 227

1            A.    Are you asking about me, personally?                 You

2     used the word "you" in your question.                  I just want

3     to understand who you're asking --

4            Q.    The Department of Justice.

5            A.    Ah.    I'm not aware of what the Department

6     of Justice may or may not have done.

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11           Q.    You're not aware of any such

12    communications between the Department of Justice

13    and the Census Bureau about whether or not, due to

14    disclosure avoidance techniques, the CVAP data

15    produced from responses to the decennial census

16    questionnaire, would, in fact, have smaller

17    margins of error than the CVAP data currently

18    relied on by the Department of Justice, correct?

19           A.    I don't believe I'm aware of any such

20    communication.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 229 of 530



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14           Q.    The Gary letter doesn't mention the fact

15    that CVAP data derived from the decennial census

16    would have margins of error due to disclosure

17    avoidance techniques that might even be larger

18    than the margins of error currently associated

19    with ACS CVAP data relied on by the Department of

20    Justice at present, correct?

21           A.    Again, I don't -- I'm not sure I'm

22    following all the chains of that hypothetical, and




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 230 of 530



                                                               Page 230

1     I don't know one way or the other.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 231 of 530



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5             Q.    So here's my question with respect to                       601

6     this bullet.         If the Census Bureau could produce

7     to you full count CVAP data that didn't have

8     sampling margins of error like the ACS CVAP data

9     but -- and could do so without including a

10    citizenship question on the census, that would

11    resolve the concerns expressed in this bullet,

12    correct?

13                  MR. GARDNER:        Objection.        Calls for

14    hypothetical.

15                  THE WITNESS:        That's hypothetical.                I

16    can't answer that.

17    BY MR. HO:

18            Q.    You don't know one way or the other?

19                  MR. GARDNER:        Objection.        Calls for

20    hypothetical.

21                  THE WITNESS:        It's a hypothetical.                I

22    can't answer a hypothetical.




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20           Q.    Do you remember how we talked about how,

21    when data has smaller margins of error, we'd --

22    you and I agree that that data would be more




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 233 of 530



                                                               Page 233

1     precise than data that has larger margins of

2     error, right?

3            A.    Yes.

4            Q.    Today, do you believe that CVAP data

5     produced from responses to a question about

6     citizenship on the census questionnaire will be

7     more precise than the data that the Department of

8     Justice is currently relying on with respect to

9     CVAP for purposes of VRA enforcement purposes?

10           A.    I'm not sure I have a view on that one

11    way or the other, since I don't know what the

12    margin of error is that the Census Bureau will

13    assign to census responses and, particularly, the

14    citizenship question should it be asked on the

15    2020 census.

16           Q.    So just to clarify, right now you don't

17    know whether or not CVAP data produced from

18    responses to the citizenship question on the

19    census questionnaire will, in fact, be more

20    precise than the CVAP data on which DOJ is

21    currently relying for purposes of VRA enforcement?

22           A.    I believe that's correct.            I don't know




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 234 of 530



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1     what the margin of error is that will be assigned

2     to that, to that data.

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22           Q.    Okay.     Correct me if I'm wrong, but the




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 235 of 530



                                                               Page 235

1     point that's being expressed in this bullet is

2     that citizenship data from the ACS is not ideal

3     for purposes of VRA enforcement because ACS

4     citizenship data is published at the block group

5     level and DOJ is required to perform further

6     estimates to generate CVAP data at the census

7     block level, correct?

8            A.    Correct.

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14           Q.    You're not aware of any time previously

15    where DOJ has had at its disposal CVAP data broken

16    down by race and ethnicity at the census block

17    level, correct?

18           A.    I am not aware of that.

19           Q.    You're not aware of any time previously

20    where DOJ did not have to use an estimated -- an

21    estimation procedure in order to convert CVAP data

22    from the Census Bureau from one geographical level




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 236 of 530



                                                               Page 236

1     into block level data broken down by race or

2     ethnicity, correct?

3            A.    As I understand your question, that's

4     correct.

5            Q.    The Gary letter doesn't mention the fact

6     that, for purposes of VRA enforcement, DOJ has

7     always had to use an estimated -- an estimation

8     procedure in order to convert CVAP data from the

9     Census Bureau at one geographic level into CVAP

10    data by race and ethnicity at the block level,

11    correct?

12           A.    I've just testified that I don't know

13    whether that's a fact or not.              But there's no

14    mention of that issue in the Gary letter.

15           Q.    You've never assessed the statistical

16    reliability of estimation techniques for deriving

17    block level CVAP data from block group level CVAP

18    data, correct?

19                 MR. GARDNER:       Objection.       Form.

20                 THE WITNESS:       I don't believe I have, no.

21    BY MR. HO:

22           Q.    You're not aware of any case that was




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 237 of 530



                                                               Page 237

1     filed by DOJ where DOJ was unable to succeed on a

2     VRA claim because of the fact that DOJ performed

3     an estimation procedure to derive census block

4     level CVAP data correct?

5            A.    I'm not aware of any such filed case.

6            Q.    You're not aware of any case where any

7     plaintiff was unable to succeed on a VRA claim

8     because of the fact that the plaintiff had to

9     perform an estimation procedure to derive

10    block-level CVAP data, correct?

11           A.    I'm not aware of any such filed case, and

12    I understand your question to be limited to filed

13    cases.

14           Q.    You're not aware of any situation where a

15    plaintiff did not bring a case because of the fact

16    that the plaintiff would have to perform an

17    estimation procedure in order to generate CVAP

18    data at the census block level, correct?

19                 MR. GARDNER:       Objection to the extent

20    that you're calling for information subject to the

21    law enforcement privilege.             To the extent you are

22    asking for that information, I would instruct the




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 238 of 530



                                                               Page 238

1     witness not to answer.

2                  To the extent you can answer that

3     question without divulging law

4     enforcement-sensitive information, you may do so.

5                  THE WITNESS:       I am not aware of any

6     public, nonprivileged information to indicate the

7     existence of any such case.

8     BY MR. HO:
                                                                            601
9            Q.    If the Census Bureau could produce CVAP

10    data at the block level for the Department of

11    Justice instead of at a different level of

12    geography, and could do so without including a

13    citizenship question on the census, would that

14    alleviate the concern that's expressed in this

15    bullet point?

16                 MR. GARDNER:       Objection.       Calls for a

17    hypothetical.

18                 THE WITNESS:       It's a hypothetical I can't

19    engage in.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 239 of 530



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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 240 of 530



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1     REDACTED
2            Q.    You're just refusing to answer the

3     question, correct?

4            A.    I'm telling you my answer is I won't

5     engage in a hypothetical.

6            Q.    Okay.     Aside from the four bullets

7     expressed in this letter, are there any other

8     reasons why ACS CVAP data are not the ideal data

9     for purposes of VRA enforcement of which you are

10    aware?

11           A.    Not that I'm aware of.

12           Q.    Okay.     I'm going to show you a document.

13    We'll mark this as 20.

14                 (Gore Deposition Exhibit 20 marked for

15                 identification and attached to the

16                 transcript.)

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14           Q.    You're not aware of any of these cases                   601

15    failing because of the quality of CVAP data

16    available to the Department of Justice, correct?

17                 MR. GARDNER:       Objection.       Lack of

18    foundation.

19                 THE WITNESS:       I am not aware.

20    BY MR. HO:

21           Q.    You mentioned earlier a case, the

22    Benavidez case.         Do you remember that?




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                                                               Page 243

1            A.    Yes.

2            Q.    It's a case from the Northern District of

3     Texas, right?

4            A.    Yes.

5            Q.    It's not a circuit court case, right?

6            A.    That is correct.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 244 of 530



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1            Q.    No, I appreciate that.

2                  So just so that the record is clear, the

3     Benavidez case is the only case that you're aware

4     of where the plaintiff's claim failed in part due

5     to reliance on ACS CVAP data, correct?

6            A.    Correct.

7            Q.    And just to be clear, the Benavidez case

8     was not brought by the Department of Justice,

9     correct?

10           A.    Correct.

11           Q.    Now, your understanding is that the

12    plaintiffs in the Benavidez case relied on

13    one-year ACS estimates, correct?

14           A.    That's my recollection from the case.

15    Yes.

16           Q.    And your recollection is that the

17    plaintiffs in the Benavidez litigation did not

18    rely on five-year ACS estimates, correct?

19           A.    That is my recollection.            Correct.

20           Q.    And your recollection is that, in the

21    Benavidez case, the court found that the one-year

22    ACS data that the plaintiffs were relying upon was




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 245 of 530



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1     not sufficiently reliable for the geographic areas

2     at issue in that case, correct?

3            A.    Correct.

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14           Q.    And the plaintiffs in the Benavidez case

15    didn't rely on those five-year ACS estimates,

16    correct?

17           A.    That's correct.

18           Q.    And you --

19           A.    That's my recollection.

20           Q.    And you're not aware of a single case in

21    which a plaintiff's VRA claim failed due to

22    reliance on five-year ACS estimates, correct?




            REDACTED
     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 246 of 530



                                                               Page 246

1            A.    Correct.      I'm not aware of any such case.

2            Q.    You described the Benavidez case in your

3     testimony to Congress, correct?

4            A.    I believe I mentioned it.            Yes.

5            Q.    At the time you testified in Congress,

6     you were aware that the plaintiffs in the

7     Benavidez case relied on one-year rather than

8     five-year ACS data, correct?

9            A.    I believe that's correct.

10           Q.    Okay.     In your testimony in Congress, you

11    didn't mention the fact that although the Census

12    Bureau considers one-year ACS estimates to be

13    reliable only for areas that are -- have 65,000

14    people or more, it considers five-year ACS

15    estimates to be reliable for any geographic area,

16    correct?

17           A.    I don't recollect the specifics of my

18    testimony on that point.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 247 of 530



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5            Q.    That wasn't my question.            My question

6     was, you don't recall mentioning the five-year ACS

7     estimates during your testimony in Congress,

8     correct?

9            A.    I don't recall mentioning it or not

10    mentioning it.

11           Q.    In fact, you didn't mention the five-year

12    ACS estimates during your testimony, correct?

13           A.    I answered that question.            I don't recall

14    whether I did or I didn't.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 248 of 530



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1            Q.    Can you think of any reason why you

2     wouldn't mention the fact that the -- that there

3     are five-year ACS estimates during your

4     congressional testimony?

5            A.    I was not asked -- I don't believe I was

6     asked the intervals of estimates that are

7     available through the ACS.             I was responding to a

8     different question, as I recall my testimony.                     But

9     if you point me to where my testimony is in the

10    transcript, I'd be happy to discuss it further.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 249 of 530



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11           Q.    Going back to the list of cases that's in

12    front of you --

13           A.    Exhibit 20?

14           Q.    Yes.

15           A.    Okay.

16           Q.    None of these cases have been filed since

17    you were acting assistant attorney general for

18    civil rights, correct?

19                 I meant just the Section 2 cases on the

20    first page, sorry.

21           A.    That is correct.

22           Q.    In fact, none of the Section 2 cases




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 250 of 530



                                                               Page 250

1     listed on the first page have been filed since the

2     start of the Trump administration, correct?

3            A.    That is correct.

4            Q.    Okay.     The previous administration -- for

5     part of its time, the previous administration, in

6     addition to having responsibilities under

7     Section 2 of the Voting Rights Act, also had

8     obligations under Section 5 of the Voting Rights

9     Act, correct?

10           A.    That's correct.

11           Q.    The current administration does not have

12    obligations under Section 5 of the Voting Rights

13    Act to the same extent, correct?

14                 MR. GARDNER:       Objection to form.

15                 THE WITNESS:       That's correct.

16   REDACTED
17           Q.    What obligations, if any, does the

18    current administration have with respect to

19    Section 5 enforcement?

20           A.    That is a fair question.            There are a

21    couple of jurisdictions that are covered under

22    Section 3(c) of the Voting Rights Act, which is




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 251 of 530



                                                               Page 251

1     similar to Section 5.           We may, in fact, have no

2     obligations with respect to Section 5 at this

3     point due to the Supreme Court's decision in

4     Shelby County, which was a 2013 decision, so it

5     was about in the middle of the prior

6     administration's tenure.

7            Q.    Okay.     If you look at the previous

8     administration, 2009 through the beginning of

9     2017, it looks like the Department of Justice

10    filed five Section 2 cases during that period.

11           A.    I believe that's correct.

12           Q.    Okay.     So previous administration had

13    Section 5 obligations to review voting changes in

14    all or part of 16 states for part of that time,

15    correct?

16           A.    I believe until the Shelby County

17    decision in 2013.

18           Q.    Okay.     And the current administration

19    doesn't have those obligations and hasn't filed

20    any Section 2 cases?

21           A.    That's correct.        We also haven't had a

22    decennial census which has required every state in




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 252 of 530



                                                               Page 252

1     the union to redistrict during the time of this

2     administration, which the prior administration did

3     in the 2010 census.

4            Q.    You would say that it is not unusual for

5     the Department of Justice to go several years

6     without filing a Section 2 case, right?

7            A.    While I review this list, I think

8     that's -- that may or may not be correct.                   But

9     there have certainly been years and multiyear

10    periods where the Department of Justice has not

11    filed Section 2 cases.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 253 of 530



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12                 MR. HO:     We'll mark this as Exhibit 21.               802

13                 (Gore Deposition Exhibit 21 marked for

14                 identification and attached to the

15                 transcript.)

16    BY MR. HO:

17           Q.    It's an e-mail exchange between you,

18    Arthur Gary, and others.            The top e-mail on the

19    thread is from you to Arthur Gary dated

20    January 29th, 2018.          The first page bears Bates

21    number DOJ 00002712.

22                 I want to go through the individual




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                                                               Page 255
                                                                            802
1     e-mails on here.         Okay?

2                  So the top e-mail, this is Arthur Gary

3     e-mailing you, correct?

4            A.    I don't believe so, actually.

5            Q.    Oh, I'm sorry.        The top is you e-mailing

6     Arthur Gary, correct?

7            A.    Appears to be, yes.

8

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14           Q.    Okay.     I want to look at the first e-mail             802

15    in time on this chain.            It's on the last page,

16    page 5, Bates number DOJ 2716.

17                 This is an e-mail from Ron Jarmin to

18    Arthur Gary, cc'ing Enrique Lamas of the Census

19    Bureau.      And it has the date December 22nd, 2017,

20    right?

21           A.    Yes, that's correct.

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16           Q.    Okay.     So just to clarify, your

17    understanding is that, in this e-mail, the acting

18    director of the Census Bureau is expressing -- is

19    stating that Census Bureau staff have briefed him

20    and sug -- and -- on their findings which suggest

21    that the best way to provide block-level CVAP data

22    is not to add a citizenship question to the




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1     decennial census questionnaire, correct?

2             A.     I think that's right.         This e-mail speaks

3     for itself, and obviously I didn't write it and it

4     wasn't addressed to me.

5             Q.     Your understanding is that the Census

6     Bureau director is -- or acting Census Bureau

7     director is stating that Census Bureau staff have

8     conducted an analysis and briefed him on their

9     findings which suggest that the best way to

10    provide block-level CVAP data for DOJ's needs is

11    through a linked file of administrative and survey

12    data that the Census Bureau already possesses,

13    correct?

14            A.     That's my understanding of what this

15    says.        Yeah.

16            Q.     And your understanding is that the Census

17    Bureau director is -- acting Census Bureau

18    director is writing and stating that his staff --

19    that Census Bureau staff have analyzed this issue

20    and briefed him on their findings that the linked

21    file of administrative and survey data would

22    result in higher quality data produced at lower




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1     cost than including a citizenship question on the

2     census questionnaire, correct?

3            A.    I understand that he is communicating

4     that the findings of the staff suggest that.                    Yes.

5            Q.    Okay.     No meeting between the technical

6     experts at DOJ and the Census Bureau took place

7     between the date of the December 12th Gary letter

8     requesting a citizenship question and the Ross

9     decision memo in March of 2018 directing the

10    inclusion of a citizenship question, correct?

11           A.    I am not aware of any such meeting.

12           Q.    You're not aware of any such meeting of

13    technical staff in the civil rights division,

14    which you are the head of, and the Census Bureau's

15    technical staff to discuss this proposal -- or

16    these findings, rather, about a different way of

17    generating block-level CVAP data referenced in

18    this e-mail, correct?

19           A.    I am not aware of any such meeting.

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                                                                            802
6            Q.    Okay.     On page 3, page DOJ 2714, on

7     January 2nd, Arthur Gary writes to Ron Jarmin, "It

8     should work fine.          Let me get back to you.           Best

9     wishes to you for 2018 as well."

10                 I read that correctly, right?

11           A.    Yes, you did.

12           Q.    That's in response to a meeting -- an

13    e-mail on the following page which is from Ron

14    Jarmin to Arthur Gary which reads, "Arthur, happy

15    new year.       Would the late next week work for a

16    meeting?"       Right?

17           A.    Appears -- that appears correct.

18           Q.    Okay.     So at this point, it looked like

19    Mr. Gary was planning on having a meeting or

20    suggested that a meeting the following week with

21    the Census Bureau would work fine, correct?

22           A.    Again, these e-mails speak for




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1     themselves.       And I can't speak for Mr. Gary.               But

2     that seems about right.

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2            Q.    Mr. Gary writes back to Ron Jarmin and                   802

3     offers a number of options for a meeting,

4     including Friday, January 19th, at 11:00 a.m.,

5     right?

6            A.    That appears to be correct.

7            Q.    And in the next e-mail on the thread,

8     Dr. Jarmin writes to Arthur Gary on January 10th,

9     "Thanks, Gary.         Let's do Friday at 11:00.            We're

10    fine meeting at main Justice."               Right?

11           A.    Right.
                                                                            802
12           Q.    The next e-mail, which is on the first

13    page at the bottom, on January 16th, 2018, Arthur

14    Gary writes to cancel the meeting with Ron Jarmin,

15    correct?

16           A.    Well, it looks like -- he says

17    they're unable -- "We" -- I don't know who "we"

18    are -- "will be able to meet on Friday or this

19    week."

20           Q.    Did you have any conversations with

21    Mr. Gary about meeting with the Census Bureau

22    between the date of Dr. Jarmin's e-mail on




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1     December 22nd requesting a meeting between Census

2     Bureau and DOJ staff and Arthur Gary's e-mail on

3     January 16th stating, due to some scheduling

4     conflicts, we will be unable to meet on Friday?

5            A.    Yes.



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8            Q.    What was the content of that

9     conversation?

10           A.    I believe the content of that

11    conversation related to this request that the

12    Census Bureau and the Department of Justice hold a

13    meeting.

14           Q.    And what did Mr. Gary convey to you about                802

15    the Census Bureau's request to have a meeting

16    between DOJ and Census Bureau technical staff?

17           A.    He conveyed to me that the request had

18    been made.

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16           Q.    And what was your response to receiving                  802

17    that information?

18           A.    I listened to what Mr. Gary had to say

19    and told him that I would think about the issue

20    and discuss it further with others.

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12           Q.    What, if anything, did you do with the

13    information that the Census Bureau had an

14    alternative means for providing DOJ with

15    block-level CVAP data?

16           A.    I discussed that with various people at

17    the Department of Justice.

18           Q.    And who did you discuss that with?

19           A.    I discussed it with Rachael Tucker, Pat

20    Hovakimian.       I may have discussed it with Danielle

21    Cutrona.      I'm not sure.        And I eventually

22    discussed it with the attorney general.




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9             Q.   You mentioned that you discussed it with

10    the attorney general.           When did you discuss the

11    fact that the Census Bureau had an alternative

12    means of producing block-level CVAP data with the

13    attorney general?

14            A.   It would have been at some point after I

15    spoke to Art Gary.          I don't remember the exact

16    date.

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12            Q.   You didn't ask Arthur Gary to get more

13    information about the specifics of the proposal

14    from the Census Bureau to get higher quality CVAP

15    data at lower cost?

16            A.   I don't recall asking him that and I

17    don't recall him conveying that to me that that

18    was a representation that the Census Bureau had

19    made.

20            Q.   Okay.     You at some point had a

21    conversation with the Attorney General about this.

22    Was that in person or by phone?




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                                                               Page 269

1            A.    In person.

2            Q.    And it was in January of 2018?

3            A.    Probably.      Yeah.

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20           Q.    That's fine.

21                 The decision was made not to pursue the

22    Census Bureau's alternative proposal for producing




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                                                               Page 272

1     block-level CVAP data for purposes of VRA

2     enforcement through a means other than including a

3     citizenship question on the census, correct?

4             A.   That is correct.

5             Q.   Who made that decision?

6             A.   The attorney general.

7             Q.   When was that decision made?

8             A.   Around this time.         I don't know exactly

9     when it was made.          I can't remember the specific

10    date.

11            Q.   When you say "around this time," you mean

12    around January of 2018, correct?

13            A.   That is correct.

14            Q.   Are the reasons for that decision

15    memorialized anywhere?

16            A.   Not to my knowledge.

17            Q.   Were those reasons ever communicated to

18    you?

19            A.   Yes.

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17           Q.    Who informed Art Gary of the decision not

18    to meet with the Census Bureau to discuss their

19    alternative proposal for producing block-level

20    CVAP data?

21           A.    I did.

22           Q.    When did you inform Mr. Gary of that




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                                                               Page 274

1     decision?

2            A.    It would have been around this

3     January 29th date, I believe.              But I don't recall

4     specifically.

5            Q.    And who informed you that the Department

6     of Justice should not meet with the Census Bureau

7     to discuss the Census Bureau's alternative

8     proposal for producing block-level CVAP data?

9            A.    The attorney general.

10           Q.    You received this e-mail thread from

11    Arthur Gary, which includes the initial e-mail

12    from Dr. Jarmin describing the alternative

13    proposal for collecting CVAP data at higher

14    quality produced at lower cost on January 29th,

15    2018, correct?

16           A.    On this e-mail chain, that's correct.                    I

17    don't know whether I received it before then or

18    not.     But yes, this e-mail -- the e-mail dated

19    January 29th, 2018, at 2:33 p.m., is the first

20    e-mail in this chain where Mr. Gary sent me that

21    information.

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9            Q.    Do you have any reason to think that                     601

10    Secretary Ross knows more about the accuracy of

11    various forms of CVAP data than the career

12    professionals at the Census Bureau?

13                 MR. GARDNER:       Objection.       Lack of

14    foundation.

15                 THE WITNESS:       I have no basis to answer

16    that question.

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16                 Just here today, you know that Dr. Jarmin

17    wrote to Arthur Gary and said Census Bureau staff

18    have looked at this issue, and their analysis

19    suggests that there's a way to get CVAP data for

20    DOJ that would produce higher quality data at

21    lower cost, and wanted to meet with DOJ about

22    that.     You understand that, right?




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1             A.     Yes, I believe I've testified that I

2     understand that.

3             Q.     Okay.   And when you told Congress that

4     the best vehicle -- or the most appropriate

5     vehicle for obtaining CVAP data was through the

6     decennial census questionnaire, you didn't mention

7     Dr. Jarmin's proposal, right?

8                    MR. GARDNER:     Objection.       Asked and

9     answered.

10                   THE WITNESS:     Again, I don't remember

11    exactly everything that I testified to on May

12    21st.        I'm happy to read that testimony now and

13    answer your question and verify -- or give you the

14    verification or confirmation that you seem to be

15    asking me for.

16                   But no, I didn't mention this.            I didn't

17    mention everything about the decision or the issue

18    in that testimony to Congress.               I was asked

19    specific questions by congresspeople and gave

20    answers to the best of my ability and recollection

21    within the constraints that the Department of

22    Justice places on witnesses who testify before




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                                                               Page 280

1     Congress.

2                  Moreover, all it says here is that there

3     were some career staff who made findings that

4     suggested a particular thing, not that they had

5     firmly reached that conclusion.               And of course, as

6     I mentioned before, it's up to Secretary Ross to

7     make that determination as a matter of law, or at

8     least that's my understanding.

9     BY MR. HO:

10           Q.    I mean, this isn't an e-mail from just a

11    random Census Bureau staffer.              This is an e-mail

12    from the acting director of the Census Bureau,

13    correct?

14                 MR. GARDNER:       Objection.       Argumentative.

15                 THE WITNESS:       I understand that

16    Dr. Jarmin was the acting director of the Census

17    Bureau, yes.

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1             Q.     Okay.   Are you satisfied that your

2     testimony to Congress, which omitted Dr. Jarmin's

3     proposal to meet with the DOJ to discuss the

4     Census Bureau's findings that there was a way to

5     produce higher quality data at lower cost aside

6     from the census [sic] question -- are you

7     satisfied that that was complete testimony to

8     Congress?

9             A.     Absolutely.     I -- I testified completely

10    and honestly to Congress on the matters that I was

11    in a position to testify on.

12            Q.     Your goal is to get the most complete and

13    accurate CVAP data from the Census Bureau, right?

14            A.     That would be the Department of Justice's

15    goal.        Yes.

16            Q.     And despite having that goal, you did

17    not -- and when I say "you," the Department of

18    Justice did not have a meeting of its technical

19    staff with the Census Bureau to discuss the Census

20    Bureau's proposal to get higher quality CVAP data

21    at lower cost, correct?

22                   MR. GARDNER:     Objection.       Asked and




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1     answered.

2                  THE WITNESS:        I believe that's correct.

3     BY MR. HO:

4             Q.   Are you aware of any other circumstance

5     where the Department of Justice asked the Census

6     Bureau to collect data but then refused to have a

7     technical meeting to discuss that data request?

8             A.   I'm not aware of that, nor am I aware of

9     any instance where the Census Bureau has offered

10    that kind of meeting.

11

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16            Q.   This is marked as Exhibit 22.                It's an

17    e-mail from Ron Jarmin to Census Bureau personnel

18    in the administrative record with Bates number

19    9074.

20                 In this e-mail, Dr. Jarmin is forwarding

21    to Census Bureau personnel an e-mail that he had

22    previously written on February 6th, 2018, to




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1     Enrique Lamas and, it appears, Karen Dunn Kelley.

2                  Do you see that?

3            A.    I do see that.

4            Q.    Dr. Jarmin writes to Ms. Kelley, "Karen,

5     I spoke with Jarmin is Gary.              He has spoken with

6     DOJ leadership.         They believe the letter

7     requesting citizenship be added to the 2020 census

8     fully describes their request.               They do not want

9     to meet.      Thanks, Ron."

10                 Did I read that right?

11           A.    Yes, you did.

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12           Q.    Dr. Jarmin was correct that DOJ

13    leadership did not want to have a technical

14    meeting to discuss DOJ's request for block-level

15    CVAP data, correct?

16           A.    I believe that's correct.

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11           Q.    Mr. Gore, as the head of the civil rights

12    division, you want the civil rights division to

13    have access to the most accurate CVAP data for

14    purposes of VRA enforcement, right?

15           A.    Right.

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3             Q.    Well, before Secretary Ross' decision

4     memo -- that decision memo was in March of 2018,

5     correct?

6             A.    Sounds right.

7             Q.    Okay.     So before Secretary Ross' memo,

8     you didn't know what the Census Bureau's views

9     were about the most accurate form of CVAP data,

10    correct?

11            A.    That's probably correct.              Yeah.

12            Q.    Okay.     So before March of 2018, as

13    someone who wants the Department of Justice to

14    have the most accurate CVAP data for VRA

15    enforcement, you wanted to be able to have a

16    meeting of DOJ technical staff with the Census

17    Bureau to learn about the Census Bureau's views

18    about the most accurate CVAP data, correct?

19                  MR. GARDNER:        Objection.        Hypothetical.

20                  THE WITNESS:        That's a hypothetical.


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20           Q.    Okay.     So it's correct that you received

21    a draft of Commerce's decision memo before the

22    final memo became public, correct?




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1            A.    That appears to be correct.             Yes.

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8            Q.    Okay.     So is it correct, as this comment

9     notes, that the December 12 letter requesting a

10    citizenship question be added to the census did

11    not say that it was necessary to collect CVAP data

12    through the census questionnaire for VRA

13    enforcement?

14           A.    That is correct.

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21           Q.    And you -- my question was, you,

22    yourself, have specifically noted that the




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1     December 12 letter, the Gary letter, did not use

2     the word "necessary" with respect to the inclusion

3     of a citizenship question on the 2020 census,

4     correct?

5            A.    Yes, I have just noted that in my

6     testimony.       I will say I don't know -- I have no

7     recollection of what this comment is referring to.

8            Q.    You agree, right, Mr. Gore, that CVAP

9     data collected through the census questionnaire is

10    not necessary for DOJ's VRA enforcement efforts?

11           A.    I do agree with that.           Yes.

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4
     REDACTED      The chief scientist of the Census Bureau,

5     I'm representing to you, has given deposition

6     testimony in this litigation stating that the

7     analysis conducted by the Census Bureau indicates

8     that the best quantitative evidence that's

9     available to the Census Bureau at present suggests

10    to the Census Bureau and leads the Census Bureau

11    to conclude that the inclusion of a citizenship

12    question is likely to reduce self-response rates

13    to the census questionnaire.

14                 Do you understand the representation that

15    I've just made to you?

16           A.    I do.     I can't verify whether it's

17    accurate, since I'm not familiar with that

18    deposition testimony.

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6            Q.    Are there any planned meetings between

7     the civil rights division and the Census Bureau

8     about the effect that the citizenship question on

9     the 2020 census is going to have on the accuracy

10    of census data?

11           A.    I'm not aware of any such meetings, nor

12    do I know whether any such meetings would be

13    productive at this point, since the 2020 census

14    hasn't yet been conducted and nobody knows what

15    the effect of the citizenship question on that

16    particular census will be.

17           Q.    Mr. Gore, are you aware of any other

18    circumstance in which the Department of Commerce

19    has reached out to the Department of Justice to

20    see if the Department of Justice would request

21    data from the Census Bureau?

22           A.    I'm not aware of any other such instance,




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10           Q.    Mr. Gore, just to circle back on

11    something we talked about earlier, when Attorney

12    General Sessions made the decision for there not

13    to be a meeting between DOJ technical staff and

14    the Census Bureau, at that time, Secretary Ross

15    had not yet issued his decision memo directing the

16    inclusion of a citizenship question on the census,

17    correct?

18           A.    That is correct.

19           Q.    So it's accurate to say, since that

20    decision memo had not yet been issued, that that

21    decision memo did not play any role in the

22    decision that was made not to have a meeting




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1     between Census Bureau and technical staff,

2     correct?

3            A.    That is -- I believe that's correct.

4     Yes.

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5            Q.    Okay.     And if you look at Exhibit 34,                 802

6     it's a document titled, Census citizenship

7     question.

8                  This is the briefing paper that was

9     attached to that e-mail, correct?

10           A.    I can't verify that for sure, but --

11           Q.    Does it appear to be?

12           A.    It appears to be -- yes, it appears to be

13    a briefing paper on that topic.

14           Q.    Okay.     And the subject is, AG prep for

15    CJS Approps. hearing, correct?

16           A.    That is correct.

17           Q.    Okay.     So this citizenship -- census

18    citizenship question briefing paper, Exhibit 34,

19    it's for the attorney general, correct?

20           A.    That is correct.

21           Q.    Okay.     Exhibit 34, at the top, the first

22    bullet under the section background reads, "Not




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                                                               Page 332
                                                                            802
1     public.      In 2017, Secretary of Commerce Wilbur

2     Ross requested that the Justice Department send a

3     letter requesting the addition of a citizenship

4     question on the 2020 census."

5                  Is that statement accurate, as far as you                802/
                                                                            601
6     know?

7                  MR. GARDNER:       Objection.       Lack of

8     foundation.

9                  THE WITNESS:       As far as I know, yes.

10    BY MR. HO:

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16            Q.   And it's correct that, as of the date of

17    this e-mail, April 6th, 2018, the fact that

18    Secretary of Commerce Ross requested that the

19    Justice Department send a letter requesting the

20    addition of a citizenship question was not public,

21    correct?

22                 MR. GARDNER:       Objection.       Lack of




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1     foundation.

2                  THE WITNESS:       I believe that was -- I

3     believe that's correct.            I don't remember for

4     sure.

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11           Q.    Why, if you know, was it not public by

12    April 6th, 2018, that Secretary Ross had requested

13    that the Justice Department send a letter

14    requesting the addition of a citizenship question?

15                 MR. GARDNER:       Objection.       Lack of

16    foundation.       Calls for speculation.

17                 THE WITNESS:       I don't know.

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1    REDACTED
2            Q.    Okay.     But just so I'm clear on it, you

3     have had discussions with Attorney

4     General Sessions on the topic of whether

5     apportionment or redistricting should be conducted

6     using total population or some other measure?

7                  MR. GARDNER:       Objection to the extent it

8     mischaracterizes the witness' previous testimony.

9                  THE WITNESS:       I stand by my prior answer

10    that I had a conversation with the attorney

11    general about the question of the use of total

12    population or some other measure for apportionment

13    purposes.

14    BY MS. HULETT:

15           Q.    And you can't disclose that conversation

16    because it was during the pre-deliberative process

17    leading to the decision as to whether to request

18    that the Census Bureau include a citizenship

19    question on the decennial census?

20           A.    That is correct.

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1            Q.    Well, to start with, I'm talking about

2     Reyes versus City of Farmers Branch, Barnett

3     versus City of Chicago, Negron versus City of

4     Miami Beach, Romero versus City of Pomona, and

5     LULAC versus Perry.

6            A.    I read all of those cases before this

7     letter was sent.         And I may have read the LULAC

8     versus Perry decision more recently than that.

9            Q.    And before you list these cases, the

10    sentence right before the cases in the second

11    paragraph says, "Multiple federal courts of appeal

12    have held that, where citizenship rates are at

13    issue in a vote dilution case, citizen voting age

14    population is the proper metric for determining

15    whether a racial group could constitute a majority

16    in a single-member district."

17                 Did I read that correctly?

18           A.    Yes, you did.

19           Q.    These are all appellate court or Supreme

20    Court cases.        Did you read any of the lower court

21    opinions in these cases?

22           A.    I believe I did.         Yes.




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1            Q.    And do any of these appellate court

2     opinions that are cited in this paragraph hold

3     that long-form data or ACS survey data is

4     deficient or unsuitable for use in a Section 2

5     analysis?

6                  MR. GARDNER:        Objection.       Compound.

7                  THE WITNESS:        I don't believe so.

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19           Q.    Have you ever communicated with anyone at

20    the White House about the citizenship question?

21           A.    Yes.

22           Q.    Who?




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1             A.   I communicated with John Zadrozny.

2             Q.   And who is he?

3             A.   Z-a-d-r-o-z-n-y, I believe, is how he

4     spells his last name.           And at the time, he was

5     working, I believe, for the Domestic Policy

6     Council.

7             Q.   And when did you communicate with him?

8             A.   I believe it was sometime in October of

9     2017.

10            Q.   Who initiated the contact?

11            A.   I don't recall.        What I recall about it

12    is that I participated in a conference call on the

13    issue on which Mr. Zadrozny -- in which

14    Mr. Zadrozny also participated.

15            Q.   Conference call on the issue of adding

16    the citizenship question?

17            A.   That's correct.

18            Q.   In October of 2017?

19            A.   I believe it was October of 2017.

20            Q.   Who else was on that conference call?

21            A.   I can recall that other people from the

22    Department of Justice were on the call.                  Rachael




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1     Tucker, who we've discussed previously, and Gene

2     Hamilton I believe was on the call.                 And there may

3     have been others, but I can't remember

4     specifically who they were.

5            Q.    Other than the addition of the

6     citizenship question to the census, was that the

7     only topic --

8            A.    Yes.

9            Q.    -- discussed in the call?

10           A.    Yes, it was.

11           Q.    And were there people from the Department

12    of Commerce on that call?

13           A.    No, there were not.          Or at least not to

14    my knowledge.

15           Q.    So to your knowledge, it was one White

16    House official, and the rest of you were all from

17    the Department of Justice?

18           A.    To the best of my knowledge and

19    recollection, yes.

20

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22    REDACTED
            REDACTED
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4            Q.    And did you know before the call why you

5     were invited?

6            A.    Yes.

7            Q.    And why were you invited?

8            A.    Because I was involved in this issue on

9     behalf of the Department of Justice.

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13           Q.    You don't see anything in the letter,

14    correct, that references any aspect of how this

15    data is relevant to Section 2 enforcement other

16    than with respect to Gingles 1, correct?

17           A.    I don't see anything like that.               That's

18    correct.

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6                  Has any map drawer, outside of somebody

7     employed by the federal government, ever

8     communicated to you that it would be better if the

9     citizenship data were in the same data set as the

10    total population data?

11                 MR. GARDNER:       Could you re-ask that

12    question again?         I'm sorry.       I missed the first

13    clause.

14                 MR. GREENBAUM:        Can you read it back?

15                 (The reporter read the record as

16                 requested.)

17                 THE WITNESS:       I don't know who you mean

18    by "you."       If you mean the Department of Justice,

19    I can't answer that question because I don't know

20    what conversations have happened between map

21    drawers outside of the federal government and

22    members of the Department of Justice.




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 435 of 530



                                                               Page 435

1     BY MR. GREENBAUM:

2            Q.    I mean you, John Gore.

3            A.    Me, personally?        I don't believe I've

4     ever had any such conversation that I can recall.

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20           Q.    Prior to December 12th, 2017, did you

21    have any communication with anybody who was not a

22    federal employee at the time about having a




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 438 of 530



                                                               Page 438

1     citizenship question on the census?

2            A.    Yes.

3            Q.    Who?

4            A.    I had a conversation with a gentleman

5     named Mark Neuman, who I believe was not a federal

6     employee at the time.

7            Q.    Who is Mark Neuman?

8            A.    I understand Mark Neuman to be a former

9     employee of the Census Bureau or the Department of

10    Commerce -- I'm not sure which one.                 And I

11    understood that he was advising the Department of

12    Commerce and the Census Bureau with respect to

13    this issue.

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14           Q.    And if the Census Bureau were providing

15    census data at the block level, isn't it true

16    that, for those census blocks that have one

17    person, that that person's answer to the census

18    question regarding citizenship would be revealed

19    in the data itself?

20                 MR. GARDNER:       Objection.       Calls for a

21    hypothetical.

22                 THE WITNESS:       Again, I believe I had this




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 441 of 530



                                                               Page 441

1     discussion with Mr. Ho earlier.               I don't know the

2     answer to that question.            It's a hypothetical

3     question.

4                  Mr. Ho also talked about data masking

5     techniques that the Census Bureau might use.                    I

6     don't know how those would implicate the answer to

7     the question.        I don't know how the Census Bureau

8     is planning to report the results of this data or

9     this question from the questionnaire to the

10    Department of Justice.

11                 There's a lot I don't know, so I can't

12    take a view on that and I, unfortunately, can't

13    answer your question.

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13           Q.    You may have answered this earlier, but

14    I'm going to ask it again.             Who decided that the

15    Department of Justice would request that the

16    Census Bureau add a citizenship question to the

17    census?

18           A.    I believe I've answered that earlier, and

19    it was the attorney general.

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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 443 of 530



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17           Q.    And do you recall sharing any subsequent

18    drafts of what became the December 12th letter

19    with Mr. Herren?

20           A.    I don't recall one way or the other.

21           Q.    Do you recall him giving you comments on

22    any subsequent drafts?




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     Case 1:18-cv-02921-JMF Document 491-2 Filed 11/05/18 Page 445 of 530



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1            A.    I don't recall one way or the other.

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                                                               Page 450

1                      CERTIFICATE OF NOTARY PUBLIC

2                  I, CHRISTINA S. HOTSKO, the officer before

3     whom the foregoing deposition was taken, do hereby

4     certify that the witness whose testimony appears in

5     the foregoing deposition was duly sworn by me; that

6     the testimony of said witness was taken by me in

7     stenotypy and thereafter reduced to typewriting under

8     my direction; that said statement is a true record of

9     the proceedings; that I am neither counsel for,

10    related to, nor employed by any of the parties to the

11    action in which this statement was taken; and,

12    further, that I am not a relative or employee of any

13    counsel or attorney employed by the parties hereto,

14    nor financially or otherwise interested in the

15    outcome of this action.

16

17                                            <%14615,Signature%>

18                                          CHRISTINA S. HOTSKO

19                                    Notary Public in and for the

20                                        District of Columbia

21    My commission expires:

22    November 14, 2021




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1            NEW YORK IMMIGRATION COALITION, et al., vs.

2            UNITED STATES DEPARTMENT OF COMMERCE, et al.

3                                   JOHN GORE

4

5                        INSTRUCTIONS TO THE WITNESS

6            Please read your deposition over carefully and

7     make any necessary corrections.             You should state the

8     reason in the appropriate space on the errata sheet

9     for any corrections that are made.

10           After doing so, please sign the errata sheet and

11    date it.     You are signing same subject to the changes

12    you have noted on the errata sheet, which will be

13    attached to your deposition.

14           It is imperative that you return the original

15    errata sheet to the deposing attorney within

16    thirty (30) days of receipt of the deposition

17    transcript by you.        If you fail to do so, the

18    deposition transcript may be deemed to be accurate

19    and may be used in court.

20

21

22    PA 3072371




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1             NEW YORK IMMIGRATION COALITION, et al., vs.
              UNITED STATES DEPARTMENT OF COMMERCE, et al.
2
                                       JOHN GORE
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4                                     E R R A T A
                                       - - - - -
5     PAGE      LINE        CHANGE
6       _ _ _     _ _ _      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
7     Reason:_______________________________________
8     _ _ _     _ _ _       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
9     Reason:_______________________________________
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11    Reason:_______________________________________
12    _ _ _     _ _ _       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
13    Reason:_______________________________________
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17    Reason:_______________________________________
18    _ _ _     _ _ _       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
19    Reason:_______________________________________
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21    Reason:_______________________________________
22    PA 3072371



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1            NEW YORK IMMIGRATION COALITION, et al., vs.

2            UNITED STATES DEPARTMENT OF COMMERCE, et al.

3                                   JOHN GORE

4

5                        ACKNOWLEDGMENT OF DEPONENT

6            I, ______________________, do hereby certify

7     that I have read the foregoing pages and that the

8     same is a correct transcription of the answers given

9     by me to the questions therein propounded, except for

10    the corrections or changes in form or substance, if

11    any, noted in the attached Errata Sheet.

12

13

14    __________                ________________________

15    DATE                          SIGNATURE

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22    PA 3072371




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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

     2016.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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     COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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